Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF GEORGIA

Case number (if known)                                                        Chapter you are filing under:
                                                                                 Chapter 7
                                                                                 Chapter 11
                                                                                 Chapter 12

                                                                                 Chapter 13                                        Check if this is an
                                                                                                                                   amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                     06/22
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.


Part 1:   Identify Yourself

                                   About Debtor 1:                                                  About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on     Delra
     your government-issued        First name                                                       First name
     picture identification (for
     example, your driver's        Lee
     license or passport).         Middle name                                                      Middle name
     Bring your picture
     identification to your
                                   Harris
     meeting with the trustee.     Last name and Suffix (Sr., Jr., II, III)                         Last name and Suffix (Sr., Jr., II, III)




2.   All other names you have
     used in the last 8 years
     Include your married or
     maiden names.



3.   Only the last 4 digits of
     your Social Security
     number or federal             xxx-xx-9941
     Individual Taxpayer
     Identification number
     (ITIN)




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                   page 1
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Debtor 1   Delra Lee Harris                                                                          Case number (if known)




                                 About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names and
     Employer Identification
     Numbers (EIN) you have         I have not used any business name or EINs.                    I have not used any business name or EINs.
     used in the last 8 years

     Include trade names and     Business name(s)                                              Business name(s)
     doing business as names

                                 EIN                                                           EIN




5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                 3535 Peachtree Road NE
                                 #520-238
                                 Atlanta, GA 30326
                                 Number, Street, City, State & ZIP Code                        Number, Street, City, State & ZIP Code

                                 Fulton
                                 County                                                        County

                                 If your mailing address is different from the one             If Debtor 2's mailing address is different from yours, fill it
                                 above, fill it in here. Note that the court will send any     in here. Note that the court will send any notices to this
                                 notices to you at this mailing address.                       mailing address.



                                 Number, P.O. Box, Street, City, State & ZIP Code              Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:                                                    Check one:
     this district to file for
     bankruptcy                        Over the last 180 days before filing this petition,            Over the last 180 days before filing this petition, I
                                       I have lived in this district longer than in any               have lived in this district longer than in any other
                                       other district.                                                district.

                                       I have another reason.                                         I have another reason.
                                       Explain. (See 28 U.S.C. § 1408.)                               Explain. (See 28 U.S.C. § 1408.)




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Debtor 1    Delra Lee Harris                                                                              Case number (if known)



Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
     Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                                Chapter 7
                                     Chapter 11
                                     Chapter 12

                                     Chapter 13



8.   How you will pay the fee            I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                         about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                         order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                         a pre-printed address.
                                         I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                         The Filing Fee in Installments (Official Form 103A).
                                         I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                         but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                         applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
                                         the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for             No.
     bankruptcy within the
     last 8 years?                  Yes.
                                              District    NDGA                          When     4/04/22                Case number      22-52613
                                              District    NDGA                          When     7/01/20                Case number      20-67746
                                              District    See Attachment                When                            Case number



10. Are any bankruptcy              No
    cases pending or being
    filed by a spouse who is        Yes.
    not filing this case with
    you, or by a business
    partner, or by an
    affiliate?
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known



11. Do you rent your                No.        Go to line 12.
    residence?
                                    Yes.       Has your landlord obtained an eviction judgment against you?
                                                         No. Go to line 12.
                                                         Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part of
                                                         this bankruptcy petition.




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                    page 3
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Debtor 1    Delra Lee Harris                                                                               Case number (if known)



Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time         No.      Go to Part 4.
    business?
                                      Yes.     Name and location of business
     A sole proprietorship is a
     business you operate as                   Name of business, if any
     an individual, and is not a
     separate legal entity such
     as a corporation,
     partnership, or LLC.
     If you have more than one                 Number, Street, City, State & ZIP Code
     sole proprietorship, use a
     separate sheet and attach
     it to this petition.                      Check the appropriate box to describe your business:
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above

13. Are you filing under           If you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor choosing to
    Chapter 11 of the              proceed under Subchapter V so that it can set appropriate deadlines. If you indicate that you are a small business debtor or
    Bankruptcy Code, and           you are choosing to proceed under Subchapter V, you must attach your most recent balance sheet, statement of operations,
    are you a small business       cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure in 11 U.S.C.
    debtor or a debtor as          § 1116(1)(B).
    defined by 11 U.S. C. §            No.        I am not filing under Chapter 11.
    1182(1)?
    For a definition of small
                                      No.      I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
    business debtor, see 11
                                               Code.
    U.S.C. § 101(51D).

                                      Yes.     I am filing under Chapter 11, I am a small business debtor according to the definition in the Bankruptcy Code, and
                                               I do not choose to proceed under Subchapter V of Chapter 11.

                                      Yes.     I am filing under Chapter 11, I am a debtor according to the definition in § 1182(1) of the Bankruptcy Code, and I
                                               choose to proceed under Subchapter V of Chapter 11.

Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any            No.
    property that poses or is
    alleged to pose a threat          Yes.
    of imminent and                          What is the hazard?
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs                      If immediate attention is
    immediate attention?                     needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,             Where is the property?
     or a building that needs
     urgent repairs?
                                                                            Number, Street, City, State & Zip Code




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Debtor 1    Delra Lee Harris                                                                           Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                     About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                           You must check one:
    you have received a                  I received a briefing from an approved credit                 I received a briefing from an approved credit
    briefing about credit                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                    completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
     credit counseling before            plan, if any, that you developed with the agency.             any, that you developed with the agency.
     you file for bankruptcy.
     You must truthfully check           I received a briefing from an approved credit                 I received a briefing from an approved credit
     one of the following                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
     choices. If you cannot do           filed this bankruptcy petition, but I do not have             this bankruptcy petition, but I do not have a certificate
     so, you are not eligible to         a certificate of completion.                                  of completion.
     file.
                                         Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
     If you file anyway, the court       petition, you MUST file a copy of the certificate and         MUST file a copy of the certificate and payment plan, if
     can dismiss your case, you          payment plan, if any.                                         any.
     will lose whatever filing fee
     you paid, and your                  I certify that I asked for credit counseling                  I certify that I asked for credit counseling services
     creditors can begin                 services from an approved agency, but was                     from an approved agency, but was unable to obtain
     collection activities again.        unable to obtain those services during the 7                  those services during the 7 days after I made my
                                         days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                         of the requirement.
                                                                                                       To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                         requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                         what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                         you were unable to obtain it before you filed for             circumstances required you to file this case.
                                         bankruptcy, and what exigent circumstances
                                         required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                       with your reasons for not receiving a briefing before you
                                         Your case may be dismissed if the court is                    filed for bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                         still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                         You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                         agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                         developed, if any. If you do not do so, your case
                                                                                                       Any extension of the 30-day deadline is granted only for
                                         may be dismissed.
                                                                                                       cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted
                                         only for cause and is limited to a maximum of 15
                                         days.
                                         I am not required to receive a briefing about                 I am not required to receive a briefing about credit
                                         credit counseling because of:                                 counseling because of:

                                               Incapacity.                                                  Incapacity.
                                               I have a mental illness or a mental deficiency               I have a mental illness or a mental deficiency that
                                               that makes me incapable of realizing or                      makes me incapable of realizing or making rational
                                               making rational decisions about finances.                    decisions about finances.

                                               Disability.                                                  Disability.
                                               My physical disability causes me to be                       My physical disability causes me to be unable to
                                               unable to participate in a briefing in person,               participate in a briefing in person, by phone, or
                                               by phone, or through the internet, even after I              through the internet, even after I reasonably tried to
                                               reasonably tried to do so.                                   do so.

                                               Active duty.                                                 Active duty.
                                               I am currently on active military duty in a                  I am currently on active military duty in a military
                                               military combat zone.                                        combat zone.
                                         If you believe you are not required to receive a              If you believe you are not required to receive a briefing
                                         briefing about credit counseling, you must file a             about credit counseling, you must file a motion for waiver
                                         motion for waiver credit counseling with the court.           of credit counseling with the court.




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Debtor 1    Delra Lee Harris                                                                              Case number (if known)

Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do        16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
    you have?                              individual primarily for a personal, family, or household purpose.”
                                               No. Go to line 16b.

                                               Yes. Go to line 17.
                                 16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                               No. Go to line 16c.
                                               Yes. Go to line 17.
                                 16c.      State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under            No.    I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

     Do you estimate that           Yes.   I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
     after any exempt                      are paid that funds will be available to distribute to unsecured creditors?
     property is excluded and
     administrative expenses                   No
     are paid that funds will
     be available for                          Yes
     distribution to unsecured
     creditors?

18. How many Creditors do           1-49                                             1,000-5,000                                   25,001-50,000
    you estimate that you                                                            5001-10,000                                   50,001-100,000
    owe?                            50-99
                                    100-199                                          10,001-25,000                                 More than100,000
                                    200-999

19. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your assets to         $50,001 - $100,000                               $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
    be worth?
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


20. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your liabilities       $50,001 - $100,000                                                                             $1,000,000,001 - $10 billion
    to be?                                                                           $10,000,001 - $50 million
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


Part 7:    Sign Below

For you                          I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
                                 United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                 document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                 and 3571.
                                 /s/ Delra Lee Harris
                                 Delra Lee Harris                                                  Signature of Debtor 2
                                 Signature of Debtor 1

                                 Executed on     September 30, 2022                                Executed on
                                                 MM / DD / YYYY                                                    MM / DD / YYYY




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For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
represented by one              under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
If you are not represented by   and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the
an attorney, you do not need    schedules filed with the petition is incorrect.
to file this page.
                                /s/ Stanley J. Kakol, Jr.                                          Date         September 30, 2022
                                Signature of Attorney for Debtor                                                MM / DD / YYYY

                                Stanley J. Kakol, Jr. 406060
                                Printed name

                                Law Offices of Stanley J. Kakol, Jr.
                                Firm name

                                5353 Fairington Road, Suite C
                                Lithonia, GA 30038-1164
                                Number, Street, City, State & ZIP Code

                                Contact phone     (770) 800-0440                             Email address         stan@sjklawfirm.com
                                406060 GA
                                Bar number & State




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Debtor 1         Delra Lee Harris                                                                   Case number (if known)


Fill in this information to identify your case:

Debtor 1                 Delra Lee Harris
                         First Name               Middle Name             Last Name

Debtor 2
(Spouse if, filing)      First Name               Middle Name             Last Name


United States Bankruptcy Court for the:     NORTHERN DISTRICT OF GEORGIA

Case number
(if known)                                                                                                                   Check if this is an
                                                                                                                             amended filing



                                                     FORM 101. VOLUNTARY PETITION
                                                   Prior Bankruptcy Cases Filed Attachment

District                                                              Case Number                        Date Filed
NDGA                                                                  22-52613                           4/04/22
NDGA                                                                  20-67746                           7/01/20
NDGA                                                                  20-62060                           2/03/20
NDGA                                                                  19-67735                           11/04/19




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   Fill in this information to identify your case:

   Debtor 1                  Delra Lee Harris
                             First Name                  Middle Name                   Last Name

   Debtor 2
   (Spouse if, filing)       First Name                  Middle Name                   Last Name


   United States Bankruptcy Court for the:          NORTHERN DISTRICT OF GEORGIA

   Case number
   (if known)                                                                                                                              Check if this is an
                                                                                                                                           amended filing



  Official Form 107
  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                           04/22
  Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
  information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
  number (if known). Answer every question.

   Part 1:        Give Details About Your Marital Status and Where You Lived Before

  1.     What is your current marital status?

                 Married
                 Not married

  2.     During the last 3 years, have you lived anywhere other than where you live now?

                 No
                 Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

          Debtor 1:                                          Dates Debtor 1               Debtor 2 Prior Address:                              Dates Debtor 2
                                                             lived there                                                                       lived there

  3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
  states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

                 No
                 Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

   Part 2         Explain the Sources of Your Income

  4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
         Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
         If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

                 No
                 Yes. Fill in the details.

                                                  Debtor 1                                                       Debtor 2
                                                  Sources of income               Gross income                   Sources of income             Gross income
                                                  Check all that apply.           (before deductions and         Check all that apply.         (before deductions
                                                                                  exclusions)                                                  and exclusions)

   From January 1 of current year until             Wages, commissions,                       $40,000.00           Wages, commissions,
   the date you filed for bankruptcy:             bonuses, tips                                                  bonuses, tips

                                                     Operating a business                                           Operating a business




  Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 1




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   Debtor 1     Delra Lee Harris                                                                          Case number (if known)



                                                   Debtor 1                                                       Debtor 2
                                                   Sources of income               Gross income                   Sources of income                Gross income
                                                   Check all that apply.           (before deductions and         Check all that apply.            (before deductions
                                                                                   exclusions)                                                     and exclusions)

   For last calendar year:                           Wages, commissions,                       $27,000.00           Wages, commissions,
   (January 1 to December 31, 2021 )               bonuses, tips                                                  bonuses, tips

                                                      Operating a business                                           Operating a business


   For the calendar year before that:                Wages, commissions,                       $26,000.00           Wages, commissions,
   (January 1 to December 31, 2020 )               bonuses, tips                                                  bonuses, tips

                                                      Operating a business                                           Operating a business


  5.   Did you receive any other income during this year or the two previous calendar years?
       Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
       and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
       winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

       List each source and the gross income from each source separately. Do not include income that you listed in line 4.

              No
              Yes. Fill in the details.

                                                   Debtor 1                                                       Debtor 2
                                                   Sources of income               Gross income from              Sources of income                Gross income
                                                   Describe below.                 each source                    Describe below.                  (before deductions
                                                                                   (before deductions and                                          and exclusions)
                                                                                   exclusions)

   Part 3:     List Certain Payments You Made Before You Filed for Bankruptcy

  6.   Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
            No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                  individual primarily for a personal, family, or household purpose.”

                      During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $7,575* or more?
                          No.      Go to line 7.
                          Yes     List below each creditor to whom you paid a total of $7,575* or more in one or more payments and the total amount you
                                  paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                  not include payments to an attorney for this bankruptcy case.
                      * Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.

              Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                   During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                          No.      Go to line 7.
                          Yes      List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                   include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                   attorney for this bankruptcy case.


        Creditor's Name and Address                           Dates of payment              Total amount          Amount you       Was this payment for ...
                                                                                                    paid            still owe
        The Winston Condominium Assoc.                        06/01/2022 -                     $8,400.00         $103,000.00              Mortgage
        c/o Lazega & Johanson                                 9/01/2022                                                                   Car
        PO Box 250800                                                                                                                     Credit Card
        Atlanta, GA 30325                                                                                                                 Loan Repayment
                                                                                                                                          Suppliers or vendors
                                                                                                                                          Other Ongoing HOA and
                                                                                                                                   Arrears



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  7.   Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
       Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
       of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
       a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
       alimony.

              No
              Yes. List all payments to an insider.
        Insider's Name and Address                              Dates of payment              Total amount          Amount you        Reason for this payment
                                                                                                      paid            still owe

  8.   Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
       insider?
       Include payments on debts guaranteed or cosigned by an insider.

              No
              Yes. List all payments to an insider
        Insider's Name and Address                              Dates of payment              Total amount          Amount you        Reason for this payment
                                                                                                      paid            still owe       Include creditor's name

   Part 4:     Identify Legal Actions, Repossessions, and Foreclosures

  9.   Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
       List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
       modifications, and contract disputes.

              No
              Yes. Fill in the details.
        Case title                                              Nature of the case           Court or agency                          Status of the case
        Case number

  10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
      Check all that apply and fill in the details below.

              No. Go to line 11.
              Yes. Fill in the information below.
        Creditor Name and Address                               Describe the Property                                          Date                        Value of the
                                                                                                                                                              property
                                                                Explain what happened

  11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
      accounts or refuse to make a payment because you owed a debt?
              No
              Yes. Fill in the details.
        Creditor Name and Address                               Describe the action the creditor took                          Date action was                Amount
                                                                                                                               taken

  12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
      court-appointed receiver, a custodian, or another official?

              No
              Yes

   Part 5:     List Certain Gifts and Contributions

  13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
              No
              Yes. Fill in the details for each gift.
        Gifts with a total value of more than $600                    Describe the gifts                                       Dates you gave                    Value
        per person                                                                                                             the gifts

        Person to Whom You Gave the Gift and
        Address:


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  14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
              No
              Yes. Fill in the details for each gift or contribution.
        Gifts or contributions to charities that total             Describe what you contributed                           Dates you                       Value
        more than $600                                                                                                     contributed
        Charity's Name
        Address (Number, Street, City, State and ZIP Code)

   Part 6:     List Certain Losses

  15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
      or gambling?

              No
              Yes. Fill in the details.
        Describe the property you lost and               Describe any insurance coverage for the loss                      Date of your         Value of property
        how the loss occurred                            Include the amount that insurance has paid. List pending          loss                              lost
                                                         insurance claims on line 33 of Schedule A/B: Property.

   Part 7:     List Certain Payments or Transfers

  16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
      consulted about seeking bankruptcy or preparing a bankruptcy petition?
      Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

              No
              Yes. Fill in the details.
        Person Who Was Paid                                        Description and value of any property                   Date payment               Amount of
        Address                                                    transferred                                             or transfer was             payment
        Email or website address                                                                                           made
        Person Who Made the Payment, if Not You
        MoneySharp.org                                             Credit Counseling                                       9/30/2022                     $10.00
        222 Merchandise Mart Plaza
        Suite 1225
        Chicago, IL 60654


        The Law Office of Stanley J. Kakol, Jr.                    Filing Fee: $313                                        9/30/202                     $613.00
        5353 Fairington Rd.                                        Attorney Fee: $300
        Suite C
        Lithonia, GA 30038


  17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
      promised to help you deal with your creditors or to make payments to your creditors?
      Do not include any payment or transfer that you listed on line 16.

              No
              Yes. Fill in the details.
        Person Who Was Paid                                        Description and value of any property                   Date payment               Amount of
        Address                                                    transferred                                             or transfer was             payment
                                                                                                                           made




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  18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
      transferred in the ordinary course of your business or financial affairs?
      Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
      include gifts and transfers that you have already listed on this statement.
              No
              Yes. Fill in the details.
        Person Who Received Transfer                                 Description and value of                   Describe any property or     Date transfer was
        Address                                                      property transferred                       payments received or debts   made
                                                                                                                paid in exchange
        Person's relationship to you

  19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
      beneficiary? (These are often called asset-protection devices.)
              No
              Yes. Fill in the details.
        Name of trust                                                Description and value of the property transferred                       Date Transfer was
                                                                                                                                             made

   Part 8:      List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

  20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
      sold, moved, or transferred?
      Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
      houses, pension funds, cooperatives, associations, and other financial institutions.
              No
              Yes. Fill in the details.
        Name of Financial Institution and                      Last 4 digits of               Type of account or        Date account was          Last balance
        Address (Number, Street, City, State and ZIP           account number                 instrument                closed, sold,         before closing or
        Code)                                                                                                           moved, or                      transfer
                                                                                                                        transferred

  21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
      cash, or other valuables?

              No
              Yes. Fill in the details.
        Name of Financial Institution                                Who else had access to it?             Describe the contents              Do you still
        Address (Number, Street, City, State and ZIP Code)           Address (Number, Street, City,                                            have it?
                                                                     State and ZIP Code)


  22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

              No
              Yes. Fill in the details.
        Name of Storage Facility                                     Who else has or had access             Describe the contents              Do you still
        Address (Number, Street, City, State and ZIP Code)           to it?                                                                    have it?
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)

   Part 9:      Identify Property You Hold or Control for Someone Else

  23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
      for someone.

              No
              Yes. Fill in the details.
        Owner's Name                                                 Where is the property?                 Describe the property                         Value
        Address (Number, Street, City, State and ZIP Code)           (Number, Street, City, State and ZIP
                                                                     Code)

        Stephanie Moses                                              3657 Peachtree Rd. NE                  Household goods and                          $0.00
        Ellenwood, GA 30294                                          Atlanta, GA 30319                      appliances for staging
                                                                                                            purposes.



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   Part 10:    Give Details About Environmental Information

  For the purpose of Part 10, the following definitions apply:

       Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
       toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
       regulations controlling the cleanup of these substances, wastes, or material.
       Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
       to own, operate, or utilize it, including disposal sites.
       Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
       hazardous material, pollutant, contaminant, or similar term.

  Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

  24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

              No
              Yes. Fill in the details.
        Name of site                                               Governmental unit                             Environmental law, if you         Date of notice
        Address (Number, Street, City, State and ZIP Code)         Address (Number, Street, City, State and      know it
                                                                   ZIP Code)

  25. Have you notified any governmental unit of any release of hazardous material?

              No
              Yes. Fill in the details.
        Name of site                                               Governmental unit                             Environmental law, if you         Date of notice
        Address (Number, Street, City, State and ZIP Code)         Address (Number, Street, City, State and      know it
                                                                   ZIP Code)

  26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

              No
              Yes. Fill in the details.
        Case Title                                                 Court or agency                            Nature of the case                   Status of the
        Case Number                                                Name                                                                            case
                                                                   Address (Number, Street, City,
                                                                   State and ZIP Code)

   Part 11:    Give Details About Your Business or Connections to Any Business

  27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?

                 A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

                 A member of a limited liability company (LLC) or limited liability partnership (LLP)

                 A partner in a partnership

                 An officer, director, or managing executive of a corporation

                 An owner of at least 5% of the voting or equity securities of a corporation

              No. None of the above applies. Go to Part 12.

              Yes. Check all that apply above and fill in the details below for each business.
        Business Name                                        Describe the nature of the business                   Employer Identification number
        Address                                                                                                    Do not include Social Security number or ITIN.
        (Number, Street, City, State and ZIP Code)           Name of accountant or bookkeeper
                                                                                                                   Dates business existed
        HAA                                                  Consultant                                            EIN:       249359941
        3535 Peachtree Rd. NE
        #520-238                                                                                                   From-To    2000- Present
        Atlanta, GA 30326



  Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 6




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  28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
      institutions, creditors, or other parties.

               No
               Yes. Fill in the details below.
          Name                                                 Date Issued
          Address
          (Number, Street, City, State and ZIP Code)

   Part 12:     Sign Below

  I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
  are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
  with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
  18 U.S.C. §§ 152, 1341, 1519, and 3571.

   /s/ Delra Lee Harris
   Delra Lee Harris                                                      Signature of Debtor 2
   Signature of Debtor 1

   Date      September 30, 2022                                          Date

  Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
     No
     Yes

  Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
     No
     Yes. Name of Person                  . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




  Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                             page 7




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   Fill in this information to identify your case and this filing:

   Debtor 1                    Delra Lee Harris
                               First Name                                 Middle Name                    Last Name

   Debtor 2
   (Spouse, if filing)         First Name                                 Middle Name                    Last Name


   United States Bankruptcy Court for the:                      NORTHERN DISTRICT OF GEORGIA

   Case number                                                                                                                                                     Check if this is an
                                                                                                                                                                   amended filing



  Official Form 106A/B
  Schedule A/B: Property                                                                                                                                          12/15
  In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
  think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
  information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
  Answer every question.

   Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

  1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

          No. Go to Part 2.

          Yes. Where is the property?




   1.1                                                                            What is the property? Check all that apply
          3657 Peachtree Rd. Ne                                                          Single-family home                         Do not deduct secured claims or exemptions. Put
          #6B                                                                            Duplex or multi-unit building              the amount of any secured claims on Schedule D:
          Street address, if available, or other description                                                                        Creditors Who Have Claims Secured by Property.
                                                                                         Condominium or cooperative

                                                                                         Manufactured or mobile home
                                                                                                                                    Current value of the       Current value of the
          Atlanta                           GA        30319-0000                         Land                                       entire property?           portion you own?
          City                              State              ZIP Code                  Investment property                               $825,000.00                $825,000.00
                                                                                         Timeshare
                                                                                                                                    Describe the nature of your ownership interest
                                                                                         Other                                      (such as fee simple, tenancy by the entireties, or
                                                                                  Who has an interest in the property? Check one    a life estate), if known.
                                                                                         Debtor 1 only                              Fee Simple
          DeKalb                                                                         Debtor 2 only
          County                                                                         Debtor 1 and Debtor 2 only
                                                                                                                                         Check if this is community property
                                                                                         At least one of the debtors and another         (see instructions)
                                                                                  Other information you wish to add about this item, such as local
                                                                                  property identification number:
                                                                                  Cost of Sale: $82,500


   2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
      pages you have attached for Part 1. Write that number here...........................................................................=>                      $825,000.00


   Part 2: Describe Your Vehicles

  Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
  someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




  Official Form 106A/B                                                                  Schedule A/B: Property                                                                   page 1




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  3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

          No
          Yes


    3.1    Make:      Jaguar                                    Who has an interest in the property? Check one                  Do not deduct secured claims or exemptions. Put
                                                                                                                                the amount of any secured claims on Schedule D:
           Model:     XJL                                          Debtor 1 only                                                Creditors Who Have Claims Secured by Property.
           Year:      2011                                         Debtor 2 only                                                Current value of the      Current value of the
           Approximate mileage:                270000              Debtor 1 and Debtor 2 only                                   entire property?          portion you own?
           Other information:                                      At least one of the debtors and another


                                                                   Check if this is community property                                    $6,000.00                 $6,000.00
                                                                    (see instructions)



    3.2    Make:      Fisker                                    Who has an interest in the property? Check one                  Do not deduct secured claims or exemptions. Put
                                                                                                                                the amount of any secured claims on Schedule D:
           Model:     Karma                                        Debtor 1 only                                                Creditors Who Have Claims Secured by Property.
           Year:      2012                                         Debtor 2 only                                                Current value of the      Current value of the
           Approximate mileage:                228000              Debtor 1 and Debtor 2 only                                   entire property?          portion you own?
           Other information:                                      At least one of the debtors and another


                                                                   Check if this is community property                                    $9,000.00                 $9,000.00
                                                                    (see instructions)




  4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
     Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

          No
          Yes



   5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
     .pages you have attached for Part 2. Write that number here.............................................................................=>                 $15,000.00


   Part 3: Describe Your Personal and Household Items
   Do you own or have any legal or equitable interest in any of the following items?                                                                   Current value of the
                                                                                                                                                       portion you own?
                                                                                                                                                       Do not deduct secured
                                                                                                                                                       claims or exemptions.
  6. Household goods and furnishings
     Examples: Major appliances, furniture, linens, china, kitchenware
       No
          Yes. Describe.....

                                      Household goods and furniture                                                                                                  $1,750.00


  7. Electronics
     Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
                including cell phones, cameras, media players, games
        No
          Yes. Describe.....

                                      Electronics                                                                                                                    $1,000.00


  8. Collectibles of value
     Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
                 other collections, memorabilia, collectibles
          No

  Official Form 106A/B                                                    Schedule A/B: Property                                                                           page 2




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        Yes. Describe.....

  9. Equipment for sports and hobbies
     Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
               musical instruments
        No
        Yes. Describe.....

  10. Firearms
       Examples: Pistols, rifles, shotguns, ammunition, and related equipment
        No
        Yes. Describe.....

  11. Clothes
      Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
        No
        Yes. Describe.....

                                            Clothes                                                                                                                  $450.00


  12. Jewelry
       Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
        No
        Yes. Describe.....

  13. Non-farm animals
      Examples: Dogs, cats, birds, horses
        No
        Yes. Describe.....

  14. Any other personal and household items you did not already list, including any health aids you did not list
        No
        Yes. Give specific information.....


   15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
       for Part 3. Write that number here ..............................................................................                                        $3,200.00


   Part 4: Describe Your Financial Assets
   Do you own or have any legal or equitable interest in any of the following?                                                                         Current value of the
                                                                                                                                                       portion you own?
                                                                                                                                                       Do not deduct secured
                                                                                                                                                       claims or exemptions.

  16. Cash
      Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
       No
        Yes................................................................................................................

                                                                                                                                 Cash                                   $0.00


  17. Deposits of money
      Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                    institutions. If you have multiple accounts with the same institution, list each.
       No
       Yes........................                                     Institution name:


                                              17.1.       Checking                                Bank of America                                                    $100.00




  Official Form 106A/B                                                                     Schedule A/B: Property                                                       page 3




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                                          17.2.    Checking                     USAA                                                                      $10.00



                                          17.3.    Checking                     Chase Bank                                                                  $0.00


  18. Bonds, mutual funds, or publicly traded stocks
      Examples: Bond funds, investment accounts with brokerage firms, money market accounts
        No
        Yes..................                     Institution or issuer name:

  19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
      joint venture
        No
        Yes. Give specific information about them...................
                                   Name of entity:                                                                 % of ownership:

  20. Government and corporate bonds and other negotiable and non-negotiable instruments
      Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
      Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
        No
        Yes. Give specific information about them
                                    Issuer name:

  21. Retirement or pension accounts
      Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
        No
        Yes. List each account separately.
                                Type of account:                                Institution name:

  22. Security deposits and prepayments
      Your share of all unused deposits you have made so that you may continue service or use from a company
      Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
        No
        Yes. .....................                                              Institution name or individual:

  23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
        No
        Yes.............             Issuer name and description.

  24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
      26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
        No
        Yes.............             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

  25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
        No
        Yes. Give specific information about them...

  26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
      Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
        No
        Yes. Give specific information about them...

  27. Licenses, franchises, and other general intangibles
       Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
        No
        Yes. Give specific information about them...

   Money or property owed to you?                                                                                                          Current value of the
                                                                                                                                           portion you own?
                                                                                                                                           Do not deduct secured
  Official Form 106A/B                                                   Schedule A/B: Property                                                             page 4




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                                                                                                                                                                 claims or exemptions.

  28. Tax refunds owed to you
          No
          Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



  29. Family support
       Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
          No
          Yes. Give specific information......


  30. Other amounts someone owes you
      Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
                benefits; unpaid loans you made to someone else
          No
          Yes. Give specific information..

  31. Interests in insurance policies
       Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
          No
          Yes. Name the insurance company of each policy and list its value.
                                   Company name:                                                                        Beneficiary:                              Surrender or refund
                                                                                                                                                                  value:

  32. Any interest in property that is due you from someone who has died
      If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
      someone has died.
          No
          Yes. Give specific information..


  33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
      Examples: Accidents, employment disputes, insurance claims, or rights to sue
          No
          Yes. Describe each claim.........

  34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
          No
          Yes. Describe each claim.........

  35. Any financial assets you did not already list
          No
          Yes. Give specific information..


   36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
       for Part 4. Write that number here.....................................................................................................................              $110.00


   Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

  37. Do you own or have any legal or equitable interest in any business-related property?
         No. Go to Part 6.
         Yes. Go to line 38.



   Part 6:   Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
             If you own or have an interest in farmland, list it in Part 1.


  46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
             No. Go to Part 7.
             Yes. Go to line 47.


  Official Form 106A/B                                                           Schedule A/B: Property                                                                            page 5




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   Debtor 1         Delra Lee Harris                                                                                                      Case number (if known)


   Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above


  53. Do you have other property of any kind you did not already list?
      Examples: Season tickets, country club membership
          No
          Yes. Give specific information.........


   54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                      $0.00

   Part 8:         List the Totals of Each Part of this Form

   55. Part 1: Total real estate, line 2 ......................................................................................................................              $825,000.00
   56. Part 2: Total vehicles, line 5                                                                           $15,000.00
   57. Part 3: Total personal and household items, line 15                                                       $3,200.00
   58. Part 4: Total financial assets, line 36                                                                     $110.00
   59. Part 5: Total business-related property, line 45                                                              $0.00
   60. Part 6: Total farm- and fishing-related property, line 52                                                     $0.00
   61. Part 7: Total other property not listed, line 54                                             +                $0.00

   62. Total personal property. Add lines 56 through 61...                                                      $18,310.00              Copy personal property total           $18,310.00

   63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                        $843,310.00




  Official Form 106A/B                                                               Schedule A/B: Property                                                                          page 6




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   Fill in this information to identify your case:

   Debtor 1               Delra Lee Harris
                          First Name                    Middle Name                Last Name

   Debtor 2
   (Spouse if, filing)    First Name                    Middle Name                Last Name


   United States Bankruptcy Court for the:        NORTHERN DISTRICT OF GEORGIA

   Case number
   (if known)                                                                                                                        Check if this is an
                                                                                                                                     amended filing


  Official Form 106C
  Schedule C: The Property You Claim as Exempt                                                                                                             4/22

  Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
  the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
  needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
  case number (if known).

  For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
  specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
  any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
  funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
  exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
  to the applicable statutory amount.

   Part 1:        Identify the Property You Claim as Exempt

   1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

             You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

             You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

   2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
        Brief description of the property and line on     Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
        Schedule A/B that lists this property             portion you own
                                                          Copy the value from    Check only one box for each exemption.
                                                          Schedule A/B

        3657 Peachtree Rd. Ne #6B Atlanta,                     $825,000.00                                $21,500.00      O.C.G.A. § 44-13-100(a)(1)
        GA 30319 DeKalb County
        Cost of Sale: $82,500                                                         100% of fair market value, up to
        Line from Schedule A/B: 1.1                                                   any applicable statutory limit

        Household goods and furniture                             $1,750.00                                 $1,750.00     O.C.G.A. § 44-13-100(a)(4)
        Line from Schedule A/B: 6.1
                                                                                      100% of fair market value, up to
                                                                                      any applicable statutory limit

        Electronics                                               $1,000.00                                 $1,000.00     O.C.G.A. § 44-13-100(a)(4)
        Line from Schedule A/B: 7.1
                                                                                      100% of fair market value, up to
                                                                                      any applicable statutory limit

        Clothes                                                       $450.00                                 $450.00     O.C.G.A. § 44-13-100(a)(4)
        Line from Schedule A/B: 11.1
                                                                                      100% of fair market value, up to
                                                                                      any applicable statutory limit

        Checking: Bank of America                                     $100.00                                 $100.00     O.C.G.A. § 44-13-100(a)(6)
        Line from Schedule A/B: 17.1
                                                                                      100% of fair market value, up to
                                                                                      any applicable statutory limit




  Official Form 106C                                Schedule C: The Property You Claim as Exempt                                                     page 1 of 2




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   Debtor 1    Delra Lee Harris                                                                   Case number (if known)

       Brief description of the property and line on    Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
       Schedule A/B that lists this property            portion you own
                                                        Copy the value from    Check only one box for each exemption.
                                                        Schedule A/B

       Checking: USAA                                              $10.00                                    $10.00        O.C.G.A. § 44-13-100(a)(6)
       Line from Schedule A/B: 17.2
                                                                                    100% of fair market value, up to
                                                                                    any applicable statutory limit


   3. Are you claiming a homestead exemption of more than $189,050?
      (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)
              No
              Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                    No
                    Yes




  Official Form 106C                               Schedule C: The Property You Claim as Exempt                                                       page 2 of 2




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   Fill in this information to identify your case:

   Debtor 1                   Delra Lee Harris
                              First Name                      Middle Name                      Last Name

   Debtor 2
   (Spouse if, filing)        First Name                      Middle Name                      Last Name


   United States Bankruptcy Court for the:             NORTHERN DISTRICT OF GEORGIA

   Case number
   (if known)                                                                                                                                       Check if this is an
                                                                                                                                                    amended filing

  Official Form 106D
  Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
  Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
  is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
  number (if known).
  1. Do any creditors have claims secured by your property?
             No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
             Yes. Fill in all of the information below.
   Part 1:        List All Secured Claims
                                                                                                              Column A               Column B                Column C
   2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
   for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
   much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                              value of collateral.   claim                   If any
   2.1     Internal Revenue Service                 Describe the property that secures the claim:                 $25,039.00                      $0.00         $25,039.00
           Creditor's Name                          All debtors real and personal
           401 W. Peachtree Street,                 property
           NW
                                                    As of the date you file, the claim is: Check all that
           Stop #334-D Room 400                     apply.
           Atlanta, GA 30308                            Contingent
           Number, Street, City, State & Zip Code       Unliquidated
                                                        Disputed
   Who owes the debt? Check one.                    Nature of lien. Check all that apply.
       Debtor 1 only                                    An agreement you made (such as mortgage or secured
                                                         car loan)
       Debtor 2 only
         Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
       At least one of the debtors and another          Judgment lien from a lawsuit
         Check if this claim relates to a               Other (including a right to offset)   Tax Lien
         community debt

   Date debt was incurred                                    Last 4 digits of account number        9941




  Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 3




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   Debtor 1 Delra Lee Harris                                                                                    Case number (if known)
                 First Name                  Middle Name                      Last Name


   2.2     Spring Valley Lots, LLC                    Describe the property that secures the claim:                   $715,000.00        $825,000.00         $0.00
           Creditor's Name                            3657 Peachtree Rd. Ne #6B Atlanta,
           Bankruptcy Dept.                           GA 30319 DeKalb County
           1 Corporate Drive                          Cost of Sale: $82,500
                                                      As of the date you file, the claim is: Check all that
           Suite 360                                  apply.
           Lake Zurich, IL 60047                           Contingent
           Number, Street, City, State & Zip Code          Unliquidated
                                                           Disputed
   Who owes the debt? Check one.                      Nature of lien. Check all that apply.
      Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                            car loan)
      Debtor 2 only
         Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
      At least one of the debtors and another              Judgment lien from a lawsuit
         Check if this claim relates to a                  Other (including a right to offset)   First Mortgage
         community debt

   Date debt was incurred                                      Last 4 digits of account number         9941

           The Winston
   2.3                                                                                                                 $77,134.01        $825,000.00         $0.00
           Condominium Assoc.                         Describe the property that secures the claim:
           Creditor's Name                            3657 Peachtree Rd. Ne #6B Atlanta,
                                                      GA 30319 DeKalb County
           c/o Lazega & Johanson                      Cost of Sale: $82,500
                                                      As of the date you file, the claim is: Check all that
           PO Box 250800                              apply.
           Atlanta, GA 30325                               Contingent
           Number, Street, City, State & Zip Code          Unliquidated
                                                           Disputed
   Who owes the debt? Check one.                      Nature of lien. Check all that apply.
      Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                            car loan)
      Debtor 2 only
         Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
      At least one of the debtors and another              Judgment lien from a lawsuit
         Check if this claim relates to a                  Other (including a right to offset)   HOA arrearage
         community debt

   Date debt was incurred                                      Last 4 digits of account number         9941

           The Winston
   2.4                                                                                                                        $0.00      $792,000.00         $0.00
           Condominium Assoc.                         Describe the property that secures the claim:
           Creditor's Name                            All Debtors Real and Personal
                                                      Property
           c/o Lazega & Johanson                      As of the date you file, the claim is: Check all that
           PO Box 250800                              apply.
           Atlanta, GA 30325                               Contingent
           Number, Street, City, State & Zip Code          Unliquidated
                                                           Disputed
   Who owes the debt? Check one.                      Nature of lien. Check all that apply.
      Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                            car loan)
      Debtor 2 only
         Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
      At least one of the debtors and another              Judgment lien from a lawsuit
         Check if this claim relates to a                  Other (including a right to offset)
         community debt

   Date debt was incurred                                      Last 4 digits of account number         9941


  Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                  page 2 of 3




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   Debtor 1 Delra Lee Harris                                                                                    Case number (if known)
                 First Name                  Middle Name                      Last Name


           USAA Federal Savings
   2.5                                                                                                                 $35,000.00           $9,000.00      $26,000.00
           Bank                                       Describe the property that secures the claim:
           Creditor's Name                            2012 Fisker Karma 228000 miles
           Weinstein & Riley, PS
           c/o Jordy Robertson
           2001 Western Avenue Ste                    As of the date you file, the claim is: Check all that
                                                      apply.
           400                                             Contingent
           Seattle, WA 98121
           Number, Street, City, State & Zip Code          Unliquidated
                                                           Disputed
   Who owes the debt? Check one.                      Nature of lien. Check all that apply.
      Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                            car loan)
      Debtor 2 only
         Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
      At least one of the debtors and another              Judgment lien from a lawsuit
         Check if this claim relates to a                  Other (including a right to offset)   Automobile
         community debt

   Date debt was incurred          7/10/2017                   Last 4 digits of account number         9941

           USAA Federal Savings
   2.6                                                                                                                 $22,000.00           $6,000.00      $16,000.00
           Bank                                       Describe the property that secures the claim:
           Creditor's Name                            2011 Jaguar XJL 270000 miles
           Weinstein & Riley, PS
           c/o Jordy Robertson
           2001 Western Avenue Ste                    As of the date you file, the claim is: Check all that
                                                      apply.
           400                                             Contingent
           Seattle, WA 98121
           Number, Street, City, State & Zip Code          Unliquidated
                                                           Disputed
   Who owes the debt? Check one.                      Nature of lien. Check all that apply.
      Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                            car loan)
      Debtor 2 only
         Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
      At least one of the debtors and another              Judgment lien from a lawsuit
         Check if this claim relates to a                  Other (including a right to offset)   Automobile
         community debt

   Date debt was incurred          04/21/2017                  Last 4 digits of account number         9941


    Add the dollar value of your entries in Column A on this page. Write that number here:                                    $874,173.01
    If this is the last page of your form, add the dollar value totals from all pages.
    Write that number here:                                                                                                   $874,173.01

   Part 2:     List Others to Be Notified for a Debt That You Already Listed
   Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
   trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
   than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
   debts in Part 1, do not fill out or submit this page.




  Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page 3 of 3




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   Fill in this information to identify your case:

   Debtor 1                     Delra Lee Harris
                                First Name                    Middle Name                       Last Name

   Debtor 2
   (Spouse if, filing)          First Name                    Middle Name                       Last Name


   United States Bankruptcy Court for the:                NORTHERN DISTRICT OF GEORGIA

   Case number
   (if known)                                                                                                                                             Check if this is an
                                                                                                                                                          amended filing

  Official Form 106E/F
  Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                 12/15
  Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
  any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
  Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
  Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
  left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
  name and case number (if known).
   Part 1:        List All of Your PRIORITY Unsecured Claims
   1.    Do any creditors have priority unsecured claims against you?
             No. Go to Part 2.

             Yes.
   2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
         identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
         possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
         Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
         (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                         Total claim           Priority           Nonpriority
                                                                                                                                               amount             amount
   2.1          Georgia Department of Revenue                       Last 4 digits of account number         9941                       $0.00              $0.00                 $0.00
                Priority Creditor's Name
                Attn: Bankruptcy Department                         When was the debt incurred?             2020
                1800 Century Boulevard, NE
                Suite 9100
                Atlanta, GA 30345
                Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.                             Contingent
                Debtor 1 only                                           Unliquidated
                Debtor 2 only                                           Disputed
                Debtor 1 and Debtor 2 only                          Type of PRIORITY unsecured claim:

                At least one of the debtors and another                 Domestic support obligations

                Check if this claim is for a community debt             Taxes and certain other debts you owe the government
          Is the claim subject to offset?                               Claims for death or personal injury while you were intoxicated
                No                                                      Other. Specify
                Yes                                                                       Notice Only




  Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                              Page 1 of 6
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   Debtor 1 Delra Lee Harris                                                                                 Case number (if known)

   2.2        Internal Revenue Service                               Last 4 digits of account number       9941                Unknown                      $0.00                  $0.00
              Priority Creditor's Name
              401 W. Peachtree Street, NW                            When was the debt incurred?           2017
              Stop #334-D Room 400
              Atlanta, GA 30308
              Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.                             Contingent
              Debtor 1 only                                             Unliquidated
              Debtor 2 only                                             Disputed
              Debtor 1 and Debtor 2 only                             Type of PRIORITY unsecured claim:

              At least one of the debtors and another                   Domestic support obligations

              Check if this claim is for a community debt               Taxes and certain other debts you owe the government
          Is the claim subject to offset?                               Claims for death or personal injury while you were intoxicated
              No                                                        Other. Specify
              Yes                                                                          Priority Taxes


   Part 2:       List All of Your NONPRIORITY Unsecured Claims
   3.    Do any creditors have nonpriority unsecured claims against you?

            No. You have nothing to report in this part. Submit this form to the court with your other schedules.

            Yes.

   4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
         unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
         than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
         Part 2.
                                                                                                                                                                Total claim

   4.1        American Express National Bank                            Last 4 digits of account number         9941                                                      $19,156.00
              Nonpriority Creditor's Name
                                                                        When was the debt incurred?
              PO Box 3001
              Malvern, PA 19355-0701
              Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

                   Debtor 1 only                                           Contingent
                   Debtor 2 only                                           Unliquidated
                   Debtor 1 and Debtor 2 only                              Disputed
                   At least one of the debtors and another              Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                   Student loans
              debt                                                         Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                           report as priority claims

                   No                                                      Debts to pension or profit-sharing plans, and other similar debts

                   Yes                                                     Other. Specify    Credit Card




  Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                   Page 2 of 6




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   4.2     American Express National Bank                      Last 4 digits of account number       9941                                               $31,948.00
           Nonpriority Creditor's Name
                                                               When was the debt incurred?
           PO Box 3001
           Malvern, PA 19355-0701
           Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

               Debtor 1 only                                      Contingent
               Debtor 2 only                                      Unliquidated
               Debtor 1 and Debtor 2 only                         Disputed
               At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community             Student loans
           debt                                                   Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                     report as priority claims

               No                                                 Debts to pension or profit-sharing plans, and other similar debts

               Yes                                                Other. Specify   Credit Card


   4.3     American Express National Bank                      Last 4 digits of account number       9941                                                 $802.00
           Nonpriority Creditor's Name
                                                               When was the debt incurred?
           PO Box 3001
           Malvern, PA 19355-0701
           Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

               Debtor 1 only                                      Contingent
               Debtor 2 only                                      Unliquidated
               Debtor 1 and Debtor 2 only                         Disputed
               At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community             Student loans
           debt                                                   Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                     report as priority claims

               No                                                 Debts to pension or profit-sharing plans, and other similar debts

               Yes                                                Other. Specify   Credit Card


   4.4     Bank of America                                     Last 4 digits of account number       9941                                                $6,009.00
           Nonpriority Creditor's Name
           P.O. Box 982238                                     When was the debt incurred?
           El Paso, TX 79998
           Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

               Debtor 1 only                                      Contingent
               Debtor 2 only                                      Unliquidated
               Debtor 1 and Debtor 2 only                         Disputed
               At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community             Student loans
           debt                                                   Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                     report as priority claims

               No                                                 Debts to pension or profit-sharing plans, and other similar debts

               Yes                                                Other. Specify   Charge Account




  Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 3 of 6




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   Debtor 1 Delra Lee Harris                                                                       Case number (if known)

   4.5     Calvary SPV I, LLC                                  Last 4 digits of account number       9941                                                $2,534.00
           Nonpriority Creditor's Name
           500 Summit Lake Dr.                                 When was the debt incurred?
           Ste. 400
           Valhalla, NY 10595
           Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

               Debtor 1 only                                      Contingent
               Debtor 2 only                                      Unliquidated
               Debtor 1 and Debtor 2 only                         Disputed
               At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community             Student loans
           debt                                                   Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                     report as priority claims

               No                                                 Debts to pension or profit-sharing plans, and other similar debts

               Yes                                                Other. Specify   Charge Account


   4.6     Connie Tamplin                                      Last 4 digits of account number                                                          $36,000.00
           Nonpriority Creditor's Name
                                                               When was the debt incurred?           2018
           Ellenwood, GA 30294
           Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

               Debtor 1 only                                      Contingent
               Debtor 2 only                                      Unliquidated
               Debtor 1 and Debtor 2 only                         Disputed
               At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community             Student loans
           debt                                                   Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                     report as priority claims

               No                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                   3657 Peachtree Rd. Ne #6B Atlanta, GA
               Yes                                                Other. Specify   30319 DeKalb County


   4.7     JP Morgan Chase Bank                                Last 4 digits of account number       9941                                               $33,416.00
           Nonpriority Creditor's Name
           c/o Robertson, Anschutz, &                          When was the debt incurred?
           Schneid, P.L.
           6409 Congress Avenue
           Suite 100
           Boca Raton, FL 33487
           Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

               Debtor 1 only                                      Contingent
               Debtor 2 only                                      Unliquidated
               Debtor 1 and Debtor 2 only                         Disputed
               At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community             Student loans
           debt                                                   Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                     report as priority claims

               No                                                 Debts to pension or profit-sharing plans, and other similar debts

               Yes                                                Other. Specify   Account




  Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 4 of 6




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   Debtor 1 Delra Lee Harris                                                                         Case number (if known)

   4.8       LVNV Funding, LLC                                   Last 4 digits of account number       9941                                                    $766.00
             Nonpriority Creditor's Name
             Resurgent Capital Services                          When was the debt incurred?
             P.O. Box 10587
             Greenville, SC 29603-0587
             Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
             Who incurred the debt? Check one.

                Debtor 1 only                                       Contingent
                Debtor 2 only                                       Unliquidated
                Debtor 1 and Debtor 2 only                          Disputed
                At least one of the debtors and another          Type of NONPRIORITY unsecured claim:

                 Check if this claim is for a community             Student loans
             debt                                                   Obligations arising out of a separation agreement or divorce that you did not
             Is the claim subject to offset?                     report as priority claims

                No                                                  Debts to pension or profit-sharing plans, and other similar debts

                Yes                                                 Other. Specify   Collection Account


   4.9       MIdland Credit Management                           Last 4 digits of account number       9941                                                 $1,908.00
             Nonpriority Creditor's Name
             PO Box 2037                                         When was the debt incurred?
             Warren, MI 48090
             Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
             Who incurred the debt? Check one.

                Debtor 1 only                                       Contingent
                Debtor 2 only                                       Unliquidated
                Debtor 1 and Debtor 2 only                          Disputed
                At least one of the debtors and another          Type of NONPRIORITY unsecured claim:

                 Check if this claim is for a community             Student loans
             debt                                                   Obligations arising out of a separation agreement or divorce that you did not
             Is the claim subject to offset?                     report as priority claims

                No                                                  Debts to pension or profit-sharing plans, and other similar debts

                Yes                                                 Other. Specify   Collection Account


   4.1       Quantum 3 Group as agent
   0         forCredit Corp                                      Last 4 digits of account number       9941                                                 $1,538.00
             Nonpriority Creditor's Name
             PO Box 788                                          When was the debt incurred?
             Kirkland, WA 98083
             Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
             Who incurred the debt? Check one.

                Debtor 1 only                                       Contingent
                Debtor 2 only                                       Unliquidated
                Debtor 1 and Debtor 2 only                          Disputed
                At least one of the debtors and another          Type of NONPRIORITY unsecured claim:

                 Check if this claim is for a community             Student loans
             debt                                                   Obligations arising out of a separation agreement or divorce that you did not
             Is the claim subject to offset?                     report as priority claims

                No                                                  Debts to pension or profit-sharing plans, and other similar debts

                Yes                                                 Other. Specify   Collections

   Part 3:     List Others to Be Notified About a Debt That You Already Listed
  5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
     is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
     have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
     notified for any debts in Parts 1 or 2, do not fill out or submit this page.



  Official Form 106 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                        Page 5 of 6




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   Debtor 1 Delra Lee Harris                                                                              Case number (if known)

   Part 4:       Add the Amounts for Each Type of Unsecured Claim
  6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
     type of unsecured claim.

                                                                                                                             Total Claim
                          6a.   Domestic support obligations                                                6a.      $                     0.00
   Total
   claims
   from Part 1            6b.   Taxes and certain other debts you owe the government                        6b.      $                     0.00
                          6c.   Claims for death or personal injury while you were intoxicated              6c.      $                     0.00
                          6d.   Other. Add all other priority unsecured claims. Write that amount here.     6d.      $                     0.00

                          6e.   Total Priority. Add lines 6a through 6d.                                    6e.      $                     0.00

                                                                                                                             Total Claim
                          6f.   Student loans                                                               6f.      $                     0.00
   Total
   claims
   from Part 2            6g.   Obligations arising out of a separation agreement or divorce that
                                you did not report as priority claims                                       6g.      $                     0.00
                          6h.   Debts to pension or profit-sharing plans, and other similar debts           6h.      $                     0.00
                          6i.   Other. Add all other nonpriority unsecured claims. Write that amount        6i.
                                here.                                                                                $              134,077.00

                          6j.   Total Nonpriority. Add lines 6f through 6i.                                 6j.      $              134,077.00




  Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 6 of 6




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   Fill in this information to identify your case:

   Debtor 1                  Delra Lee Harris
                             First Name                         Middle Name              Last Name

   Debtor 2
   (Spouse if, filing)       First Name                         Middle Name              Last Name


   United States Bankruptcy Court for the:               NORTHERN DISTRICT OF GEORGIA

   Case number
   (if known)                                                                                                                             Check if this is an
                                                                                                                                          amended filing



  Official Form 106G
  Schedule G: Executory Contracts and Unexpired Leases                                                                                                    12/15
  Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
  information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
  additional pages, write your name and case number (if known).

  1.      Do you have any executory contracts or unexpired leases?
                No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
                Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

  2.      List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
          example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
          and unexpired leases.


           Person or company with whom you have the contract or lease                      State what the contract or lease is for
                             Name, Number, Street, City, State and ZIP Code
    2.1
             Name


             Number        Street

             City                                     State                   ZIP Code
    2.2
             Name


             Number        Street

             City                                     State                   ZIP Code
    2.3
             Name


             Number        Street

             City                                     State                   ZIP Code
    2.4
             Name


             Number        Street

             City                                     State                   ZIP Code
    2.5
             Name


             Number        Street

             City                                     State                   ZIP Code




  Official Form 106G                                 Schedule G: Executory Contracts and Unexpired Leases                                                Page 1 of 1




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   Fill in this information to identify your case:

   Debtor 1                   Delra Lee Harris
                              First Name                            Middle Name        Last Name

   Debtor 2
   (Spouse if, filing)        First Name                            Middle Name        Last Name


   United States Bankruptcy Court for the:                 NORTHERN DISTRICT OF GEORGIA

   Case number
   (if known)                                                                                                                    Check if this is an
                                                                                                                                 amended filing


  Official Form 106H
  Schedule H: Your Codebtors                                                                                                                     12/15

  Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
  people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
  fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
  your name and case number (if known). Answer every question.

         1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

             No
             Yes

         2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
         Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

             No. Go to line 3.
             Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?


     3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
        in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
        Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
        out Column 2.

                  Column 1: Your codebtor                                                              Column 2: The creditor to whom you owe the debt
                  Name, Number, Street, City, State and ZIP Code                                       Check all schedules that apply:

      3.1                                                                                                Schedule D, line
                  Name
                                                                                                         Schedule E/F, line
                                                                                                         Schedule G, line
                  Number             Street
                  City                                      State                       ZIP Code




      3.2                                                                                                Schedule D, line
                  Name
                                                                                                         Schedule E/F, line
                                                                                                         Schedule G, line
                  Number             Street
                  City                                      State                       ZIP Code




  Official Form 106H                                                               Schedule H: Your Codebtors                                 Page 1 of 1




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   Fill in this information to identify your case:

   Debtor 1                      Delra Lee Harris

   Debtor 2
   (Spouse, if filing)

   United States Bankruptcy Court for the:       NORTHERN DISTRICT OF GEORGIA

   Case number                                                                                            Check if this is:
   (If known)
                                                                                                             An amended filing
                                                                                                             A supplement showing postpetition chapter
                                                                                                             13 income as of the following date:

   Official Form 106I                                                                                        MM / DD/ YYYY
   Schedule I: Your Income                                                                                                                           12/15
  Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
  supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
  spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
  attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

   Part 1:               Describe Employment

   1.     Fill in your employment
          information.                                                Debtor 1                                  Debtor 2 or non-filing spouse

          If you have more than one job,                                 Employed                                  Employed
          attach a separate page with           Employment status
                                                                         Not employed                              Not employed
          information about additional
          employers.
                                                Occupation            Consultant
          Include part-time, seasonal, or
          self-employed work.                   Employer's name       HAA

          Occupation may include student        Employer's address    3535 Peachtree St. NE
          or homemaker, if it applies.                                #520-238
                                                                      Atlanta, GA 30326

                                                How long employed there?         22 years

   Part 2:               Give Details About Monthly Income

  Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
  spouse unless you are separated.

  If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
  more space, attach a separate sheet to this form.

                                                                                                        For Debtor 1       For Debtor 2 or
                                                                                                                           non-filing spouse

          List monthly gross wages, salary, and commissions (before all payroll
   2.     deductions). If not paid monthly, calculate what the monthly wage would be.         2.    $             0.00     $               N/A

   3.     Estimate and list monthly overtime pay.                                             3.   +$             0.00     +$              N/A

   4.     Calculate gross Income. Add line 2 + line 3.                                        4.    $          0.00            $        N/A




  Official Form 106I                                                       Schedule I: Your Income                                                page 1


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   Debtor 1   Delra Lee Harris                                                                      Case number (if known)



                                                                                                        For Debtor 1            For Debtor 2 or
                                                                                                                                non-filing spouse
        Copy line 4 here                                                                     4.         $              0.00     $             N/A

   5.   List all payroll deductions:
        5a.    Tax, Medicare, and Social Security deductions                                 5a.        $              0.00     $               N/A
        5b.    Mandatory contributions for retirement plans                                  5b.        $              0.00     $               N/A
        5c.    Voluntary contributions for retirement plans                                  5c.        $              0.00     $               N/A
        5d.    Required repayments of retirement fund loans                                  5d.        $              0.00     $               N/A
        5e.    Insurance                                                                     5e.        $              0.00     $               N/A
        5f.    Domestic support obligations                                                  5f.        $              0.00     $               N/A
        5g.    Union dues                                                                    5g.        $              0.00     $               N/A
        5h.    Other deductions. Specify:                                                    5h.+       $              0.00 +   $               N/A
   6.   Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $                  0.00     $               N/A
   7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $                  0.00     $               N/A
   8.   List all other income regularly received:
        8a. Net income from rental property and from operating a business,
               profession, or farm
               Attach a statement for each property and business showing gross
               receipts, ordinary and necessary business expenses, and the total
               monthly net income.                                                           8a.        $        4,100.00       $               N/A
        8b. Interest and dividends                                                           8b.        $            0.00       $               N/A
        8c. Family support payments that you, a non-filing spouse, or a dependent
               regularly receive
               Include alimony, spousal support, child support, maintenance, divorce
               settlement, and property settlement.                                          8c.        $              0.00     $               N/A
        8d. Unemployment compensation                                                        8d.        $              0.00     $               N/A
        8e. Social Security                                                                  8e.        $              0.00     $               N/A
        8f.    Other government assistance that you regularly receive
               Include cash assistance and the value (if known) of any non-cash assistance
               that you receive, such as food stamps (benefits under the Supplemental
               Nutrition Assistance Program) or housing subsidies.
               Specify:                                                                      8f.  $                  0.00   $                   N/A
        8g. Pension or retirement income                                                     8g. $                   0.00   $                   N/A
        8h. Other monthly income. Specify: Family Contribution                               8h.+ $              4,500.00 + $                   N/A
               Additional anticipated income                                                      $              3,000.00   $                   N/A

   9.   Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $          11,600.00        $               N/A

   10. Calculate monthly income. Add line 7 + line 9.                                    10. $              11,600.00 + $            N/A = $          11,600.00
       Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
   11. State all other regular contributions to the expenses that you list in Schedule J.
       Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
       other friends or relatives.
       Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
       Specify:                                                                                                                  11. +$                    0.00

   12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
       Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
       applies                                                                                                                        12.   $         11,600.00
                                                                                                                                            Combined
                                                                                                                                            monthly income
   13. Do you expect an increase or decrease within the year after you file this form?
             No.
             Yes. Explain:




  Official Form 106I                                                      Schedule I: Your Income                                                       page 2


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     Fill in this information to identify your case:

     Debtor 1                 Delra Lee Harris                                                                  Check if this is:
                                                                                                                    An amended filing
     Debtor 2                                                                                                       A supplement showing postpetition chapter
     (Spouse, if filing)                                                                                            13 expenses as of the following date:

     United States Bankruptcy Court for the:   NORTHERN DISTRICT OF GEORGIA                                               MM / DD / YYYY

     Case number
     (If known)



     Official Form 106J
     Schedule J: Your Expenses                                                                                                                                 12/15
     Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
     information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
     number (if known). Answer every question.

     Part 1:   Describe Your Household
     1. Is this a joint case?
                No. Go to line 2.
                Yes. Does Debtor 2 live in a separate household?
                           No
                           Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

     2.    Do you have dependents?               No
           Do not list Debtor 1 and              Yes.   Fill out this information for   Dependent’s relationship to          Dependent’s    Does dependent
           Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age            live with you?

           Do not state the                                                                                                                      No
           dependents names.                                                                                                                     Yes
                                                                                                                                                 No
                                                                                                                                                 Yes
                                                                                                                                                 No
                                                                                                                                                 Yes
                                                                                                                                                 No
                                                                                                                                                 Yes
     3.    Do your expenses include                     No
           expenses of people other than
           yourself and your dependents?                Yes

     Part 2:    Estimate Your Ongoing Monthly Expenses
     Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
     expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
     applicable date.

     Include expenses paid for with non-cash government assistance if you know
     the value of such assistance and have included it on Schedule I: Your Income
     (Official Form 106I.)                                                                                                       Your expenses


     4.    The rental or home ownership expenses for your residence. Include first mortgage
           payments and any rent for the ground or lot.                                                          4. $                            3,800.00

           If not included in line 4:

           4a. Real estate taxes                                                                               4a.    $                              0.00
           4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                              0.00
           4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                              0.00
           4d. Homeowner’s association or condominium dues                                                     4d.    $                          1,800.00
     5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                              0.00




    Official Form 106J                                                    Schedule J: Your Expenses                                                           page 1



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     Debtor 1     Delra Lee Harris                                                                          Case number (if known)

     6.    Utilities:
           6a. Electricity, heat, natural gas                                                     6a. $                                                   0.00
           6b. Water, sewer, garbage collection                                                   6b. $                                                   0.00
           6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                                                 100.00
           6d. Other. Specify:                                                                    6d. $                                                   0.00
     7.    Food and housekeeping supplies                                                           7. $                                                350.00
     8.    Childcare and children’s education costs                                                 8. $                                                  0.00
     9.    Clothing, laundry, and dry cleaning                                                      9. $                                                 25.00
     10.   Personal care products and services                                                    10. $                                                  25.00
     11.   Medical and dental expenses                                                            11. $                                                   0.00
     12.   Transportation. Include gas, maintenance, bus or train fare.
           Do not include car payments.                                                           12. $                                                 250.00
     13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                   0.00
     14.   Charitable contributions and religious donations                                       14. $                                                   0.00
     15.   Insurance.
           Do not include insurance deducted from your pay or included in lines 4 or 20.
           15a. Life insurance                                                                  15a. $                                                    0.00
           15b. Health insurance                                                                15b. $                                                    0.00
           15c. Vehicle insurance                                                               15c. $                                                  300.00
           15d. Other insurance. Specify:                                                       15d. $                                                    0.00
     16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
           Specify: Self Employment Taxes                                                         16. $                                                 100.00
     17.   Installment or lease payments:
           17a. Car payments for Vehicle 1                                                      17a. $                                                     0.00
           17b. Car payments for Vehicle 2                                                      17b. $                                                     0.00
           17c. Other. Specify:                                                                 17c. $                                                     0.00
           17d. Other. Specify:                                                                 17d. $                                                     0.00
     18.   Your payments of alimony, maintenance, and support that you did not report as
           deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
     19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
           Specify:                                                                               19.
     20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
           20a. Mortgages on other property                                                     20a. $                                                   0.00
           20b. Real estate taxes                                                               20b. $                                                   0.00
           20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                   0.00
           20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                   0.00
           20e. Homeowner’s association or condominium dues                                     20e. $                                                   0.00
     21.   Other: Specify:    Office Supplies                                                     21. +$                                               100.00
           Filing Fees                                                                                 +$                                              350.00
           Software fees                                                                               +$                                               50.00
           HOA arrears                                                                                 +$                                            1,000.00
     22. Calculate your monthly expenses
         22a. Add lines 4 through 21.                                                                                     $                       8,250.00
         22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
           22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                       8,250.00
     23. Calculate your monthly net income.
         23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                              11,600.00
         23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                              8,250.00

           23c. Subtract your monthly expenses from your monthly income.
                The result is your monthly net income.                                                           23c. $                              3,350.00

     24. Do you expect an increase or decrease in your expenses within the year after you file this form?
           For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
           modification to the terms of your mortgage?
              No.
              Yes.             Explain here:




    Official Form 106J                                                   Schedule J: Your Expenses                                                                     page 2



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   Fill in this information to identify your case:

   Debtor 1                   Delra Lee Harris
                              First Name                           Middle Name                          Last Name

   Debtor 2
   (Spouse if, filing)        First Name                           Middle Name                          Last Name


   United States Bankruptcy Court for the:                  NORTHERN DISTRICT OF GEORGIA

   Case number
   (if known)                                                                                                                                                       Check if this is an
                                                                                                                                                                    amended filing



  Official Form 106Sum
  Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                             12/15
  Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
  information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
  your original forms, you must fill out a new Summary and check the box at the top of this page.

   Part 1:        Summarize Your Assets

                                                                                                                                                                   Your assets
                                                                                                                                                                   Value of what you own

   1.     Schedule A/B: Property (Official Form 106A/B)
          1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $             825,000.00

          1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $              18,310.00

          1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $             843,310.00

   Part 2:        Summarize Your Liabilities

                                                                                                                                                                   Your liabilities
                                                                                                                                                                   Amount you owe

   2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
          2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                    $             874,173.01

   3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
          3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                          $                      0.00

          3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                            $             134,077.00


                                                                                                                                       Your total liabilities $             1,008,250.01


   Part 3:        Summarize Your Income and Expenses

   4.     Schedule I: Your Income (Official Form 106I)
          Copy your combined monthly income from line 12 of Schedule I................................................................................             $              11,600.00

   5.     Schedule J: Your Expenses (Official Form 106J)
          Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $                8,250.00

   Part 4:        Answer These Questions for Administrative and Statistical Records

   6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
               No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

             Yes
   7.     What kind of debt do you have?

                  Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                  household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

                  Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
   Official Form 106Sum                    Summary of Your Assets and Liabilities and Certain Statistical Information                                                    page 1 of 2




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   Debtor 1    Delra Lee Harris                                                            Case number (if known)
              the court with your other schedules.

   8.   From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
        122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                          $          8,100.00


   9.   Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                          Total claim
        From Part 4 on Schedule E/F, copy the following:
        9a. Domestic support obligations (Copy line 6a.)                                                   $              0.00

        9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $              0.00

        9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $              0.00

        9d. Student loans. (Copy line 6f.)                                                                 $              0.00

        9e. Obligations arising out of a separation agreement or divorce that you did not report as
            priority claims. (Copy line 6g.)                                                               $              0.00

        9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$              0.00


        9g. Total. Add lines 9a through 9f.                                                           $                 0.00




  Official Form 106Sum                        Summary of Your Assets and Liabilities and Certain Statistical Information                     page 2 of 2




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   Fill in this information to identify your case:

   Debtor 1                    Delra Lee Harris
                               First Name            Middle Name              Last Name

   Debtor 2
   (Spouse if, filing)         First Name            Middle Name              Last Name


   United States Bankruptcy Court for the:        NORTHERN DISTRICT OF GEORGIA

   Case number
   (if known)                                                                                                                   Check if this is an
                                                                                                                                amended filing



  Official Form 106Dec
  Declaration About an Individual Debtor's Schedules                                                                                                  12/15

  If two married people are filing together, both are equally responsible for supplying correct information.

  You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
  obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
  years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                         Sign Below


          Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

                  No

                  Yes. Name of person                                                                     Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                          Declaration, and Signature (Official Form 119)


         Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
         that they are true and correct.

          X /s/ Delra Lee Harris                                              X
                Delra Lee Harris                                                  Signature of Debtor 2
                Signature of Debtor 1

                Date       September 30, 2022                                     Date




  Official Form 106Dec                               Declaration About an Individual Debtor's Schedules




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                                        UNITED STATES BANKRUPTCY COURT
                                         NORTHERN DISTRICT OF GEORGIA

                           RIGHTS AND RESPONSIBILITIES STATEMENT BETWEEN
                              CHAPTER 13 DEBTORS AND THEIR ATTORNEYS
           Chapter 13 of the Bankruptcy Code gives each debtor ("Debtor") important rights, such as the right to keep
  property that could otherwise be lost through repossession, foreclosure or liquidation by a Chapter 7 Trustee. Chapter 13
  also places burdens on Debtors, however, such as the burden of making complete and truthful disclosures of their
  financial situation and prompt payments as required by the Plan. It is important for Debtors who file a Chapter 13
  bankruptcy case to understand their rights and responsibilities to the court, the Chapter 13 Trustee and to creditors.
  Debtors are entitled to expect certain services to be performed by their attorneys, but Debtors also have responsibilities to
  their attorneys. To assure that Debtors and their attorneys understand their rights and responsibilities in the Chapter 13
  process, the judges of the Bankruptcy Court for the Northern District of Georgia have approved this statement of rights
  and responsibilities of Debtors and their attorneys in Chapter 13 cases that include, but are not limited to the following, as
  each case's facts may require more of both Debtor and Debtor's attorney.

  BEFORE THE CASE IS FILED

       EACH DEBTOR SHALL:

       1. Discuss with the attorney the Debtor's objectives in filing the case.

       2. Timely provide the attorney with full and accurate financial and other information, including, but not limited to:

           (a)      Copies of pay stubs or other evidence of payment received before the date of filing of the petition, as
                    requested by the attorney;

           (b)      Copies of all Federal income tax returns (or transcript of the returns) as requested by the attorney.

       3. Inform the attorney of any and all prior bankruptcy cases Debtor has filed.

       4. Provide copies of all bills, notices, statements or communications from creditors, as requested by attorney.

       THE ATTORNEY SHALL:

       1. Personally counsel Debtor regarding the advisability of filing either a Chapter 13 or a Chapter 7 case, discuss with
          Debtor the procedures in both Chapters, as well as non-bankruptcy options, and answer the Debtor's questions.

       2. Personally explain to the Debtor the requirement of obtaining a certificate from an approved nonprofit budget and
          credit counseling agency.

       3. Personally explain to Debtor that the attorney is being engaged to represent Debtor on all matters arising in the
          case, and explain how and when the attorney's fees and the trustee's fees are determined and paid.

       4. Personally review with Debtor and obtain Debtor's signature on the completed petition, plan, as well as the
          Statement of Financial Affairs, Income and Expenses, and other statements as well as the various schedules (the
          "Schedules"), and all amendments thereto, whether filed with the petition or later. The Schedules may be
          prepared initially with the help of clerical or paralegal staff of the attorney's office, but personal attention of the
          attorney is required for the review and signing by Debtor.

       5. Timely prepare and file Debtor's petition, plan, Schedules, statement of monthly net income, and any other
          required pleading.

       6. Explain to Debtor how, when and where to make all necessary payments, including both payments that must be
          made directly to creditors and payments that must be made to the Chapter 13 Trustee, with particular attention to



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           housing, vehicle, and domestic support obligation payments.

       7. Advise Debtor of the need to maintain appropriate insurance especially for house and vehicle.

       8. Inform Debtor of the need to potentially provide attorney with copies of each Federal income tax return (or
          transcript of the return) for each tax year ending while the Debtor is in the case.

  AFTER THE CASE IS FILED

       EACH DEBTOR SHALL:

       1. Appear punctually at the meeting of creditors (also called the "341 meeting") with recent proof of income, a photo
          identification card, and proof of Social Security number. Acceptable forms of proof of identification are: driver's
          license; government ID; state picture ID; student ID; U.S. passport; military ID; resident alien card. Acceptable
          forms of proof of Social Security number are: Social Security Card; medical insurance card; pay stub; W-2 form;
          IRS form 1099; Social Security Administration Report. Debtor must be present both in time for check-in and
          when the case is called for the actual examination.

       2. Make the required payments to Trustee and to such creditors as are being paid directly, or, if required payments
          cannot be made, to notify the attorney immediately.

       3. Promptly provide attorney, upon their request, evidence of all payments made directly to creditors and Trustee,
          including amount and date of payment.

       4. Notify the attorney immediately of any change in Debtor's address or telephone number.

       5. Inform the attorney of any wage garnishments, liens or levies on assets that occur or continue after the filing of
          the case.

       6. Contact the attorney immediately if Debtor loses employment, is "laid off" or furloughed from work or has any
          significant change in income; experiences any other significant change in financial situation, including serious
          illness, personal injury, lottery winnings, or an inheritance.

       7. Notify the attorney immediately if Debtor is sued or wishes to file a lawsuit, including divorce, matters regarding
          personal or property injury (including any worker's compensation matters), and any other matter in which Debtor
          is involved in a lawsuit or legal action outside this court.

       8. Inform the attorney immediately if any tax refunds to which Debtor is entitled are seized or not received when due
          from the IRS or Georgia Department of Revenue.

       9. Contact the attorney before buying, refinancing, or contracting to sell real property, and before entering into any
          loan agreement.

       10. Complete an instructional course concerning personal financial management prior to receiving a discharge.

       THE ATTORNEY SHALL:

       1. Advise Debtor of the requirement to attend the meeting of creditors, and notify or remind Debtor of the date, time,
          and place of the meeting, in such detail as is helpful or necessary to Debtor's appearance.

       2. Inform Debtor that Debtor must be punctual and, in the case of a joint filing, that both spouses must appear at the
          same meeting.

       3. Provide competent legal representation for Debtor at the meeting of creditors, appear in time for check-in and the
          actual examination and, unless excused by Trustee, for the confirmation hearing.



                                                                2



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       4. If an attorney not employed by Debtor's attorney's law firm (a "contract" attorney) will be attending Debtor's 341
          meeting or any court hearing, personally explain to Debtor in advance the role and identity of the contract
          attorney, obtain Debtor's written permission for the contract attorney to represent Debtor and provide the contract
          attorney with the file in sufficient time to review and discuss it with Debtor prior to such representation.

       5. Make all reasonable efforts for the individual attorney who met with Debtor to attend the § 341 meeting or any
          other court hearing. However, if that attorney is unavailable then an attorney will be present on behalf of the
          Debtor with knowledge of the Debtor's case and authority to make any modifications to Debtor's plan deemed
          necessary.

       6. Timely submit to Trustee properly documented proof of income for each Debtor, including business reports for
          self-employed debtors, and all required pay advises and tax returns or transcripts.

       7. Timely respond to objections to plan confirmation, and where necessary, prepare, file and serve amended
          Schedules or an amended plan.

       8. Timely prepare, file, and serve any necessary annual financial statements, amended statements and Schedules, and
          any change of address, in accordance with information provided by each Debtor.

       9. Monitor all incoming case information (including, but not limited to, Order Confirming Plan, Notice of Intent to
          Pay Claims, and 6-month status reports) for accuracy and completeness. Contact promptly Trustee or Debtor
          regarding any discrepancies.

       10. Promptly respond to Debtor's questions through the term of the plan.

       11. Timely prepare, file and serve necessary modifications to the plan after confirmation, including modifications to
           suspend, lower, or increase plan payments.

       12. Prepare, file and serve necessary motions to buy or sell property and to incur debt.

       13. On or before 60 days after the general bar date, certify the attorney has reviewed claims with Debtor, prepared,
           filed and served objections to improper or invalid claims and filed claims within 30 days after the bar date for
           creditors who fail to file claims when such failure will adversely affect Debtor's case or its successful completion
           and discharge or such failure will adversely affect Debtor after case completion and discharge.

       14. Timely confer with Debtor and respond to any motion to dismiss the case, such as for payment default, or
           unfeasibility, and to motions to increase percentage payment to unsecured creditors.

       15. Timely confer with Debtor and respond to motions for relief from stay.

       16. Timely prepare, file, and serve appropriate motions to avoid liens.

       17. Provide any other legal services necessary for the administration of the case.




                                                                3



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  B2030 (Form 2030) (12/15)
                                                           United States Bankruptcy Court
                                                                Northern District of Georgia
    In re       Delra Lee Harris                                                                                 Case No.
                                                                                 Debtor(s)                       Chapter       13

                           DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
  1.    Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
        compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
        be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
                For legal services, I have agreed to accept                                                  $                  4,650.00
                Prior to the filing of this statement I have received                                        $                      300.00
                Balance Due                                                                                  $                  4,350.00

  2.    $      313.00      of the filing fee has been paid.

  3.    The source of the compensation paid to me was:

                     Debtor             Other (specify):

  4.    The source of compensation to be paid to me is:

                     Debtor             Other (specify):

  5.           I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

               I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
               copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

  6.        In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

        a.     Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
        b.     Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
        c.     Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
        d.     Representation of the debtor in adversary proceedings and other contested bankruptcy matters;
        e.     [Other provisions as needed]
                    Base/flat fee services:
                    Assisting client obtain pre-filing credit counseling
                    Assisting client obtain pay advices
                    Assisting client obtain tax transcripts, returns, and other relative documentation
                    Assisting in the preparation and completion of client's bankruptcy petition
                    Preparing and filing changes of address
                    Pre-confirmation turnover proceedings
                    Stop creditor actions against client
                    Motion to Extend Stay or to Impose Stay
                    Motion for Finding of Exigent Circumstances
                    Obtaining Employment Deduction Order and serving employer
                    Order to Vacate Employer Deduction Order
                    Attending and representing client at the 341 Hearing and any reset hearings
                    Attending and representing client at the Confirmation Hearing and any reset hearings
                    Preparing and filing Modifications necessary to confirm client's plan
                    Preparing and filing lien avoidances necessary to confirm client's plan
                    Objections to claims necessary to confirm plan
                    Objections to late filed claims
                    Bar date review (and all resulting/related pleadings)
                    Provide information in obtaining pre-discharge financial counseling certificate
                    Post-Confirmation amendment to add creditors
                    Resolving Trustee or creditor motions to modify the plan

                     Debtor's attorney has received $300.00 towards the base fee agreed upon by Debtor and Debtor's attorney.
                     Should the case be dismissed prior to confirmation of the plan, the balance of the funds held by the Trustee,
                     after adjustments for payments under 11 U.S.C. 1326 (a)(1)(B) or (C) and administrative fees, shall be paid to
                     Debtor's




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   In re     Delra Lee Harris                                                                          Case No.
                                                     Debtor(s)

                       DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
                                          (Continuation Sheet)
                 attorney up to $2,500.00. Any balance above $2,500.00 shall be requested by Debtor's attorney through a fee
                 application. Should the case be dismissed after confirmation, the Trustee shall pay to the Debtor's attorney from
                 the funds held the full remaining base fee.

                 In the event of a Conversion: Should the current case be converted after confiramtion of the plan, Debtor hereby
                 directs the Chapter 13 Trustee to pay Debtor's attorney the balance of the base fee. Should the current case be
                 converted prior to confirmation, Debtor hereby directs the Chapter 13 Trustee to pay Debtor's attorney the
                 balance of the base fee, up to $2,500.00.

  7.    By agreement with the debtor(s), the above-disclosed fee does not include the following service:
                Motion to Retain Refund $500.00
                Motion to Strip Lien $500.00
                Post-confirmation add creditors $300.00
                Post-confirmation plan/schedule modification $400.00
                Post-confirmation Motion for Relief from Stay (no fee dispute/no insurance) $300.00
                Post-confirmation Motion for Relief from Stay (fee dispute)$600
                Post-confirmation Motion to Retain Garnished Funds $400
                Motion to Suspend/Excuse Payments $500.00
                Motion to Sell/Refinance Property $500.00
                Motion to Approve Compromise $500.00
                Application to Employ Professional $500.00
                Trustee or creditor motions to modify the plan $300.00
                Objections to Late Claim (post bar date review) $200.00
                Motion to Voluntary Dismiss Case $250.00
                Motion to Dismiss for Failure to Submit Tax Return $200.00
                Motion to Sever/Dismiss as to one joint debtor $350.00
                Motion to Reopen, Reconsider or Vacate Dismissal $500.00
                Motion to Reimpose Stay $500.00
                Motion to Incur Debt/Loan Modification $450.00
                Miscellaneous Matters $500.00
                Credit Report $60
                Credit Counseling $30
                Photo Copy $75


                 7. In addition to the overall fee structure, in the event that the case is dismissed or converted to Chapter 7, the
                 Chapter 13 Trustee shall deliver to Debtor's counsel the unpaid amount of the agreed upon fees up to (i) $2500
                 upon pre-confirmation conversion or dismissal or (ii) the allowed fees upon a post confirmation conversion or
                 dismissal.
                                                                   CERTIFICATION
         I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
   this bankruptcy proceeding. Pursuant to General Order No. 9, I certify that I provided to the debtor(s) a copy of the "Rights and Responsibilities
   Statement Between Chapter 13 Debtors and Their Attorneys."

       September 30, 2022                                                   /s/ Stanley J. Kakol, Jr.
       Date                                                                 Stanley J. Kakol, Jr. 406060
                                                                            Signature of Attorney
                                                                            Law Offices of Stanley J. Kakol, Jr.
                                                                            5353 Fairington Road, Suite C
                                                                            Lithonia, GA 30038-1164
                                                                            (770) 800-0440 Fax: (770) 800-0494
                                                                            stan@sjklawfirm.com
                                                                            Name of law firm




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                                                United States Bankruptcy Court
                                                      Northern District of Georgia
    In re   Delra Lee Harris                                                                     Case No.
                                                                     Debtor(s)                   Chapter     13




                                    VERIFICATION OF CREDITOR MATRIX


  The above-named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.



   Date: September 30, 2022                              /s/ Delra Lee Harris
                                                         Delra Lee Harris
                                                         Signature of Debtor




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  Notice Required by 11 U.S.C. § 342(b) for
  Individuals Filing for Bankruptcy (Form 2010)


                                                                                            Chapter 7:         Liquidation
   This notice is for you if:
                                                                                                    $245      filing fee
         You are an individual filing for bankruptcy,
         and                                                                                         $78   administrative fee

         Your debts are primarily consumer debts.                                           +        $15   trustee surcharge
         Consumer debts are defined in 11 U.S.C.
         § 101(8) as “incurred by an individual                                                     $338      total fee
         primarily for a personal, family, or
         household purpose.”                                                                Chapter 7 is for individuals who have financial
                                                                                            difficulty preventing them from paying their debts
                                                                                            and who are willing to allow their non-exempt
   The types of bankruptcy that are available to                                            property to be used to pay their creditors. The
   individuals                                                                              primary purpose of filing under chapter 7 is to have
                                                                                            your debts discharged. The bankruptcy discharge
   Individuals who meet the qualifications may file under                                   relieves you after bankruptcy from having to pay
   one of four different chapters of Bankruptcy Code:                                       many of your pre-bankruptcy debts. Exceptions exist
                                                                                            for particular debts, and liens on property may still
         Chapter 7 - Liquidation                                                            be enforced after discharge. For example, a creditor
                                                                                            may have the right to foreclose a home mortgage or
         Chapter 11 - Reorganization                                                        repossess an automobile.

         Chapter 12 - Voluntary repayment plan                                              However, if the court finds that you have committed
                     for family farmers or                                                  certain kinds of improper conduct described in the
                     fishermen                                                              Bankruptcy Code, the court may deny your
                                                                                            discharge.
         Chapter 13 - Voluntary repayment plan
                     for individuals with regular                                           You should know that even if you file chapter 7 and
                     income                                                                 you receive a discharge, some debts are not
                                                                                            discharged under the law. Therefore, you may still
                                                                                            be responsible to pay:
   You should have an attorney review your
   decision to file for bankruptcy and the choice of                                            most taxes;
   chapter.
                                                                                                most student loans;

                                                                                                domestic support and property settlement
                                                                                                obligations;




  Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                    page 1




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         most fines, penalties, forfeitures, and criminal                                   your income is more than the median income for your
         restitution obligations; and                                                       state of residence and family size, depending on the
                                                                                            results of the Means Test, the U.S. trustee, bankruptcy
         certain debts that are not listed in your bankruptcy                               administrator, or creditors can file a motion to dismiss
         papers.                                                                            your case under § 707(b) of the Bankruptcy Code. If a
                                                                                            motion is filed, the court will decide if your case should
   You may also be required to pay debts arising from:                                      be dismissed. To avoid dismissal, you may choose to
                                                                                            proceed under another chapter of the Bankruptcy
         fraud or theft;                                                                    Code.

         fraud or defalcation while acting in breach of                                     If you are an individual filing for chapter 7 bankruptcy,
         fiduciary capacity;                                                                the trustee may sell your property to pay your debts,
                                                                                            subject to your right to exempt the property or a portion
         intentional injuries that you inflicted; and                                       of the proceeds from the sale of the property. The
                                                                                            property, and the proceeds from property that your
         death or personal injury caused by operating a                                     bankruptcy trustee sells or liquidates that you are
         motor vehicle, vessel, or aircraft while intoxicated                               entitled to, is called exempt property. Exemptions may
         from alcohol or drugs.                                                             enable you to keep your home, a car, clothing, and
                                                                                            household items or to receive some of the proceeds if
   If your debts are primarily consumer debts, the court                                    the property is sold.
   can dismiss your chapter 7 case if it finds that you have
   enough income to repay creditors a certain amount.                                       Exemptions are not automatic. To exempt property,
   You must file Chapter 7 Statement of Your Current                                        you must list it on Schedule C: The Property You Claim
   Monthly Income (Official Form 122A–1) if you are an                                      as Exempt (Official Form 106C). If you do not list the
   individual filing for bankruptcy under chapter 7. This                                   property, the trustee may sell it and pay all of the
   form will determine your current monthly income and                                      proceeds to your creditors.
   compare whether your income is more than the median
   income that applies in your state.

   If your income is not above the median for your state,
   you will not have to complete the other chapter 7 form,                                  Chapter 11: Reorganization
   the Chapter 7 Means Test Calculation (Official Form
   122A–2).
                                                                                                        $1,167    filing fee
   If your income is above the median for your state, you
   must file a second form —the Chapter 7 Means Test                                           +           $571    administrative fee
   Calculation (Official Form 122A–2). The calculations on
                                                                                                        $1,738    total fee
   the form— sometimes called the Means Test—deduct
   from your income living expenses and payments on
                                                                                            Chapter 11 is often used for reorganizing a business,
   certain debts to determine any amount available to pay
                                                                                            but is also available to individuals. The provisions of
   unsecured creditors. If
                                                                                            chapter 11 are too complicated to summarize briefly.




  Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                         page 2




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         Read These Important Warnings

             Because bankruptcy can have serious long-term financial and legal consequences, including loss of
             your property, you should hire an attorney and carefully consider all of your options before you file.
             Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
             and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
             properly and protect you, your family, your home, and your possessions.

             Although the law allows you to represent yourself in bankruptcy court, you should understand that
             many people find it difficult to represent themselves successfully. The rules are technical, and a mistake
             or inaction may harm you. If you file without an attorney, you are still responsible for knowing and
             following all of the legal requirements.

             You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
             necessary documents.

             Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
             bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
             fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
             20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                            Under chapter 13, you must file with the court a plan
   Chapter 12: Repayment plan for family                                                    to repay your creditors all or part of the money that
               farmers or fishermen                                                         you owe them, usually using your future earnings. If
                                                                                            the court approves your plan, the court will allow you
                                                                                            to repay your debts, as adjusted by the plan, within 3
                   $200      filing fee                                                     years or 5 years, depending on your income and other
   +                $78      administrative fee                                             factors.
                   $278      total fee
                                                                                            After you make all the payments under your plan,
   Similar to chapter 13, chapter 12 permits family farmers                                 many of your debts are discharged. The debts that are
   and fishermen to repay their debts over a period of time                                 not discharged and that you may still be responsible to
   using future earnings and to discharge some debts that                                   pay include:
   are not paid.
                                                                                                   domestic support obligations,

                                                                                                   most student loans,
   Chapter 13: Repayment plan for
               individuals with regular                                                            certain taxes,
               income
                                                                                                   debts for fraud or theft,

                   $235      filing fee                                                            debts for fraud or defalcation while acting in a
   +                $78      administrative fee                                                    fiduciary capacity,
                   $313      total fee
                                                                                                   most criminal fines and restitution obligations,
   Chapter 13 is for individuals who have regular income
   and would like to pay all or part of their debts in                                             certain debts that are not listed in your
   installments over a period of time and to discharge                                             bankruptcy papers,
   some debts that are not paid. You are eligible for
   chapter 13 only if your debts are not more than certain                                         certain debts for acts that caused death or
   dollar amounts set forth in 11 U.S.C. § 109.                                                    personal injury, and

                                                                                                   certain long-term secured debts.




  Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                         page 3




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                                                                                            A married couple may file a bankruptcy case
               Warning: File Your Forms on Time                                             together—called a joint case. If you file a joint case and
                                                                                            each spouse lists the same mailing address on the
   Section 521(a)(1) of the Bankruptcy Code requires that                                   bankruptcy petition, the bankruptcy court generally will
   you promptly file detailed information about your                                        mail you and your spouse one copy of each notice,
   creditors, assets, liabilities, income, expenses and                                     unless you file a statement with the court asking that
   general financial condition. The court may dismiss your                                  each spouse receive separate copies.
   bankruptcy case if you do not file this information within
   the deadlines set by the Bankruptcy Code, the                                            Understand which services you could receive from
   Bankruptcy Rules, and the local rules of the court.                                      credit counseling agencies

   For more information about the documents and                                             The law generally requires that you receive a credit
   their deadlines, go to:                                                                  counseling briefing from an approved credit counseling
   http://www.uscourts.gov/forms/bankruptcy-forms                                           agency. 11 U.S.C. § 109(h). If you are filing a joint
                                                                                            case, both spouses must receive the briefing. With
                                                                                            limited exceptions, you must receive it within the 180
   Bankruptcy crimes have serious consequences                                              days before you file your bankruptcy petition. This
                                                                                            briefing is usually conducted by telephone or on the
         If you knowingly and fraudulently conceal assets                                   Internet.
         or make a false oath or statement under penalty
         of perjury—either orally or in writing—in                                          In addition, after filing a bankruptcy case, you generally
         connection with a bankruptcy case, you may be                                      must complete a financial management instructional
         fined, imprisoned, or both.                                                        course before you can receive a discharge. If you are
                                                                                            filing a joint case, both spouses must complete the
         All information you supply in connection with a                                    course.
         bankruptcy case is subject to examination by the
         Attorney General acting through the Office of the                                  You can obtain the list of agencies approved to provide
         U.S. Trustee, the Office of the U.S. Attorney, and                                 both the briefing and the instructional course from:
         other offices and employees of the U.S.                                            http://www.uscourts.gov/services-forms/bankruptcy/cre
         Department of Justice.                                                             dit-counseling-and-debtor-education-courses.

   Make sure the court has your mailing address                                             In Alabama and North Carolina, go to:
                                                                                            http://www.uscourts.gov/services-forms/bankruptcy/cre
   The bankruptcy court sends notices to the mailing                                        dit-counseling-and-debtor-education-courses.
   address you list on Voluntary Petition for Individuals
   Filing for Bankruptcy (Official Form 101). To ensure                                     If you do not have access to a computer, the clerk of
   that you receive information about your case,                                            the bankruptcy court may be able to help you obtain
   Bankruptcy Rule 4002 requires that you notify the court                                  the list.
   of any changes in your address.




  Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                        page 4




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   Fill in this information to identify your case:                                                             Check as directed in lines 17 and 21:

   Debtor 1              Delra Lee Harris                                                                        According to the calculations required by this
                                                                                                                 Statement:
   Debtor 2                                                                                                            1. Disposable income is not determined under
   (Spouse, if filing)
                                                                                                                          11 U.S.C. § 1325(b)(3).
   United States Bankruptcy Court for the:       Northern District of Georgia                                          2. Disposable income is determined under 11
                                                                                                                          U.S.C. § 1325(b)(3).
   Case number
   (if known)
                                                                                                                       3. The commitment period is 3 years.

                                                                                                                       4. The commitment period is 5 years.

                                                                                                                     Check if this is an amended filing

  Official Form 122C-1
  Chapter 13 Statement of Your Current Monthly Income
  and Calculation of Commitment Period                                                                                                                               10/19

  Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
  space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
  additional pages, write your name and case number (if known).

   Part 1:           Calculate Your Average Monthly Income

    1. What is your marital and filing status? Check one only.
                Not married. Fill out Column A, lines 2-11.
                Married. Fill out both Columns A and B, lines 2-11.


      Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. §
      101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during
      the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both
      spouses own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                         Column A                 Column B
                                                                                                         Debtor 1                 Debtor 2 or
                                                                                                                                  non-filing spouse
    2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
       payroll deductions).                                                           $                                 0.00      $
    3. Alimony and maintenance payments. Do not include payments from a spouse if
       Column B is filled in.                                                                            $              0.00      $
    4. All amounts from any source which are regularly paid for household expenses
       of you or your dependents, including child support. Include regular contributions
       from an unmarried partner, members of your household, your dependents, parents,
       and roommates. Do not include payments from a spouse. Do not include payments
       you listed on line 3.                                                             $                         4,500.00       $
    5. Net income from operating a business,
       profession, or farm                                            Debtor 1
          Gross receipts (before all deductions)                  $               4,100.00
          Ordinary and necessary operating expenses              -$                 500.00
          Net monthly income from a business,                                                  Copy
          profession, or farm                                     $               3,600.00 here -> $               3,600.00       $
    6. Net income from rental and other real property                 Debtor 1
          Gross receipts (before all deductions)                        $      0.00
          Ordinary and necessary operating expenses                     -$       0.00
          Net monthly income from rental or other real property         $        0.00 Copy here -> $                    0.00      $




  Official Form 122C-1          Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                         page 1




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                                                                                                    Column A                      Column B
                                                                                                    Debtor 1                      Debtor 2 or
                                                                                                                                  non-filing spouse
                                                                                                    $                  0.00       $
    7. Interest, dividends, and royalties
    8. Unemployment compensation                                                                    $                  0.00       $
         Do not enter the amount if you contend that the amount received was a benefit under
         the Social Security Act. Instead, list it here:
            For you                                          $                   0.00
              For your spouse                                       $
    9. Pension or retirement income. Do not include any amount received that was a
       benefit under the Social Security Act. Also, except as stated in the next sentence, do
       not include any compensation, pension, pay, annuity, or allowance paid by the
       United States Government in connection with a disability, combat-related injury or
       disability, or death of a member of the uniformed services. If you received any retired
       pay paid under chapter 61 of title 10, then include that pay only to the extent that it
       does not exceed the amount of retired pay to which you would otherwise be entitled
       if retired under any provision of title 10 other than chapter 61 of that title.         $                       0.00       $
    10. Income from all other sources not listed above. Specify the source and amount.
        Do not include any benefits received under the Social Security Act; payments
        received as a victim of a war crime, a crime against humanity, or international or
        domestic terrorism; or compensation, pension, pay, annuity, or allowance paid by the
        United States Government in connection with a disability, combat-related injury or
        disability, or death of a member of the uniformed services. If necessary, list other
        sources on a separate page and put the total below.
                                                                                                    $                  0.00       $
                                                                                                    $                  0.00       $
                   Total amounts from separate pages, if any.                                  +    $                  0.00       $

    11. Calculate your total average monthly income. Add lines 2 through 10 for
        each column. Then add the total for Column A to the total for Column B.           $        8,100.00           +   $                  =    $      8,100.00

                                                                                                                                                      Total average
                                                                                                                                                      monthly income
   Part 2:        Determine How to Measure Your Deductions from Income

    12. Copy your total average monthly income from line 11.                                                                                  $          8,100.00
    13. Calculate the marital adjustment. Check one:
                You are not married. Fill in 0 below.
                You are married and your spouse is filing with you. Fill in 0 below.
                You are married and your spouse is not filing with you.
                Fill in the amount of the income listed in line 11, Column B, that was NOT regularly paid for the household expenses of you or your
                dependents, such as payment of the spouse's tax liability or the spouse's support of someone other than you or your dependents.
                Below, specify the basis for excluding this income and the amount of income devoted to each purpose. If necessary, list additional
                adjustments on a separate page.
                If this adjustment does not apply, enter 0 below.
                                                                                           $
                                                                                           $
                                                                                         +$

                      Total                                                               $                    0.00           Copy here=>         -               0.00


    14. Your current monthly income. Subtract line 13 from line 12.                                                                           $          8,100.00

    15. Calculate your current monthly income for the year. Follow these steps:
          15a. Copy line 14 here=>                                                                                                            $          8,100.00




  Official Form 122C-1          Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                        page 2




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                  Multiply line 15a by 12 (the number of months in a year).                                                                                 x 12

          15b. The result is your current monthly income for the year for this part of the form. ...........................................            $     97,200.00


    16. Calculate the median family income that applies to you. Follow these steps:
         16a. Fill in the state in which you live.                                GA

         16b. Fill in the number of people in your household.                      1
         16c. Fill in the median family income for your state and size of household.                                                                    $     55,600.00
              To find a list of applicable median income amounts, go online using the link specified in the separate
              instructions for this form. This list may also be available at the bankruptcy clerk's office.
    17. How do the lines compare?
         17a.          Line 15b is less than or equal to line 16c. On the top of page 1 of this form, check box 1, Disposable income is not determined under
                       11 U.S.C. § 1325(b)(3). Go to Part 3. Do NOT fill out Calculation of Your Disposable Income (Official Form 122C-2).

         17b.          Line 15b is more than line 16c. On the top of page 1 of this form, check box 2, Disposable income is determined under 11 U.S.C. §
                       1325(b)(3). Go to Part 3 and fill out Calculation of Your Disposable Income (Official Form 122C-2). On line 39 of that form, copy
                       your current monthly income from line 14 above.
   Part 3:       Calculate Your Commitment Period Under 11 U.S.C. § 1325(b)(4)

   18. Copy your total average monthly income from line 11 .                                                                                   $                   8,100.00
   19. Deduct the marital adjustment if it applies. If you are married, your spouse is not filing with you, and you
       contend that calculating the commitment period under 11 U.S.C. § 1325(b)(4) allows you to deduct part of your
       spouse's income, copy the amount from line 13.
       19a. If the marital adjustment does not apply, fill in 0 on line 19a.                                                                   -$                      0.00


         19b. Subtract line 19a from line 18.                                                                                                       $          8,100.00


   20. Calculate your current monthly income for the year. Follow these steps:
         20a. Copy line 19b                                                                                                                             $      8,100.00

                Multiply by 12 (the number of months in a year).                                                                                            x 12

         20b. The result is your current monthly income for the year for this part of the form                                                          $     97,200.00




         20c. Copy the median family income for your state and size of household from line 16c                                                          $     55,600.00


         21. How do the lines compare?

                     Line 20b is less than line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 3, The commitment
                     period is 3 years. Go to Part 4.

                     Line 20b is more than or equal to line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 4, The
                     commitment period is 5 years. Go to Part 4.

   Part 4:       Sign Below
         By signing here, under penalty of perjury I declare that the information on this statement and in any attachments is true and correct.

      X /s/ Delra Lee Harris
          Delra Lee Harris
          Signature of Debtor 1
         Date September 30, 2022
              MM / DD / YYYY
         If you checked 17a, do NOT fill out or file Form 122C-2.
         If you checked 17b, fill out Form 122C-2 and file it with this form. On line 39 of that form, copy your current monthly income from line 14 above.
  Official Form 122C-1         Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                              page 3




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   Fill in this information to identify your case:

   Debtor 1          Delra Lee Harris

   Debtor 2
   (Spouse, if filing)

   United States Bankruptcy Court for the:     Northern District of Georgia

   Case number
   (if known)                                                                                                 Check if this is an amended filing

  Official Form 122C-2
  Chapter 13 Calculation of Your Disposable Income                                                                                                    04/22

  To fill out this form, you will need your completed copy of Chapter 13 Statement of Your Current Monthly Income and Calculation of
  Commitment Period (Official Form 122C-1).

  Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
  space is needed, attach a separate sheet to this form, Include the line number to which additional information applies. On the top any
  additional pages, write your name and case number (if known).

   Part 1:       Calculate Your Deductions from Your Income

     The Internal Revenue Service (IRS) issues National and Local Standards for certain expense amounts. Use these amounts to answer the
     the questions in lines 6-15. To find the IRS standards, go online using the link specified in the separate instructions for this form. This
     information may also be available at the bankruptcy clerk’s office.

     Deduct the expense amounts set out in lines 6-15 regardless of your actual expense. In later parts of the form, you will use some of your actual
     expenses if they are higher than the standards. Do not include any operating expenses that you subtracted from income in lines 5 and 6 of Form
     122C–1, and do not deduct any amounts that you subtracted from your spouse’s income in line 13 of Form 122C–1.

     If your expenses differ from month to month, enter the average expense.

     Note: Line numbers 1-4 are not used in this form. These numbers apply to information required by a similar form used in chapter 7 cases.

     5.      The number of people used in determining your deductions from income

             Fill in the number of people who could be claimed as exemptions on your federal income tax return,
             plus the number of any additional dependents whom you support. This number may be different from                   1
             the number of people in your household.



     National Standards               You must use the IRS National Standards to answer the questions in lines 6-7.



     6.      Food, clothing, and other items: Using the number of people you entered in line 5 and the IRS National
             Standards, fill in the dollar amount for food, clothing, and other items.                                              $           785.00


     7.      Out-of-pocket health care allowance: Using the number of people you entered in line 5 and the IRS National Standards, fill in
             the dollar amount for out-of-pocket health care. The number of people is split into two categories--people who are under 65 and
             people who are 65 or older--because older people have a higher IRS allowance for health car costs. If your actual expenses are
             higher than this IRS amount, you may deduct the additional amount on line 22.




  Official Form 122C-2                               Chapter 13 Calculation of Your Disposable Income                                           page 1




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      People who are under 65 years of age
              7a. Out-of-pocket health care allowance per person              $             75
              7b. Number of people who are under 65                           X         1
              7c. Subtotal. Multiply line 7a by line 7b.                      $        75.00            Copy here=>        $             75.00

      People who are 65 years of age or older

              7d. Out-of-pocket health care allowance per person              $          153
              7e. Number of people who are 65 or older                        X         0
              7f.     Subtotal. Multiply line 7d by line 7e.                  $         0.00            Copy here=>        $              0.00

              7g. Total. Add line 7c and line 7f                                                 $      75.00                   Copy total here=> $          75.00


      Local Standards           You must use the IRS Local Standards to answer the questions in lines 8-15.
      Based on information from the IRS, the U.S. Trustee Program has divided the IRS Local Standard for housing for
      bankruptcy purposes into two parts:
           Housing and utilities - Insurance and operating expenses
           Housing and utilities - Mortgage or rent expenses
      To answer the questions in lines 8-9, use the U.S. Trustee Program chart. To find the chart, go online using the link specified in the
      separate instructions for this form. This chart may also be available at the bankruptcy clerk's office.
      8. Housing and utilities - Insurance and operating expenses: Using the number of people you entered in line 5, fill
          in the dollar amount listed for your county for insurance and operating expenses.                               $               634.00
      9.      Housing and utilities - Mortgage or rent expenses:
              9a. Using the number of people you entered in line 5, fill in the dollar amount
                  listed for your county for mortgage or rent expenses.                                                    $        1,422.00

              9b. Total average monthly payment for all mortgages and other debts secured by your home.
                      To calculate the total average monthly payment, add all amounts that are
                      contractually due to each secured creditor in the 60 months after you file
                      for bankruptcy. Next divide by 60.

                      Name of the creditor                                        Average monthly
                                                                                  payment

                      Spring Valley Lots, LLC                                     $         3,800.00
                      The Winston Condominium Assoc.                              $         2,800.00

                                                                                                        Copy                                       Repeat this amount
                                       9b. Total average monthly payment          $         6,600.00    here=>        -$               6,600.00 on line 33a.

              9c. Net mortgage or rent expense.

                      Subtract line 9b (total average monthly payment) from line 9a (mortgage                                             Copy
                      or rent expense). If this number is less than $0, enter $0.                          $                    0.00      here=>    $            0.00


      10. If you claim that the U.S. Trustee Program's division of the IRS Local Standard for housing is incorrect and
          affects the calculation of your monthly expenses, fill in any additional amount you claim.                                               $             0.00

               Explain why:




  Official Form 122C-2                                         Chapter 13 Calculation of Your Disposable Income                                                page 2




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      11. Local transportation expenses: Check the number of vehicles for which you claim an ownership or operating expense.

                 0. Go to line 14.

                 1. Go to line 12.

                 2 or more. Go to line 12.
      12. Vehicle operation expense: Using the IRS Local Standards and the number of vehicles for which you claim the
          operating expenses, fill in the Operating Costs that apply for your Census region or metropolitan statistical area.                                    $       640.00
      13. Vehicle ownership or lease expense: Using the IRS Local Standards, calculate the net ownership or lease expense for each vehicle below.
          You may not claim the expense if you do not make any loan or lease payments on the vehicle. In addition, you may not claim the expense for
          more than two vehicles.
       Vehicle 1         Describe Vehicle 1:
                                                   2012 Fisker Karma 228000 miles
      13a. Ownership or leasing costs using IRS Local Standard..................................................         $             588.00
      13b. Average monthly payment for all debts secured by Vehicle 1.
              Do not include costs for leased vehicles.

              To calculate the average monthly payment here and on line 13e, add all amounts that
              are contractually due to each secured creditor in the 60 months after you file for
              bankruptcy. Then divide by 60.

                   Name of each creditor for Vehicle 1                               Average monthly
                                                                                     payment
                   USAA Federal Savings Bank                                         $              166.00

                                                                                                                                                          Repeat this
                                                                                                                    Copy                                  amount on
                                          Total Average Monthly Payment              $              166.00          here =>       -$         166.00       line 33b.


      13c. Net Vehicle 1 ownership or lease expense                                                                                                  Copy net
                                                                                                                                                     Vehicle 1
              Subtract line 13b from line 13a. if this number is less than $0, enter $0. .....................                                       expense here
                                                                                                                         $             422.00        =>              $   422.00

       Vehicle 2         Describe Vehicle 2: 2011 Jaguar XJL 270000 miles
      13d. Ownership or leasing costs using IRS Local Standard..................................................         $             588.00
      13e. Average monthly payment for all debts secured by Vehicle 2. Do not include costs for
           leased vehicles.

                   Name of each creditor for Vehicle 2                               Average monthly
                                                                                     payment

                   USAA Federal Savings Bank                                         $              110.00

                                                                                                                    Copy                              Repeat this
                                                                                                                    here                              amount on line
                                          Total average monthly payment              $              110.00                                  110.00    33c.
                                                                                                                    =>       -$

      13f. Net Vehicle 2 ownership or lease expense                                                                                                  Copy net
                                                                                                                                                     Vehicle 2
              Subtract line 13e from line 13d. if this number is less than $0, enter $0. .......................                                     expense here
                                                                                                                         $             478.00        =>              $   478.00

      14. Public transportation expense: If you claimed 0 vehicles in line 11, using the IRS Local Standards, fill in the
          Public Transportation expense allowance regardless of whether you use public transportation.                                                           $         0.00
      15. Additional public transportation expense: If you claimed 1 or more vehicles in line 11 and if you claim that you may
          also deduct a public transportation expense, you may fill in what you believe is the appropriate expense, but you may
          not claim more than the IRS Local Standard for Public Transportation.                                                                                  $         0.00




  Official Form 122C-2                                      Chapter 13 Calculation of Your Disposable Income                                                             page 3




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      Other Necessary Expenses             In addition to the expense deductions listed above, you are allowed your monthly expenses for
                                           the following IRS categories.
      16. Taxes: The total monthly amount that you will actually pay for federal, state and local taxes, such as income taxes,
          self-employment taxes, social security taxes, and Medicare taxes. You may include the monthly amount withheld from
          your pay for these taxes. However, if you expect to receive a tax refund, you must divide the expected refund by 12
          and subtract that number from the total monthly amount that is withheld to pay for taxes.
          Do not include real estate, sales, or use taxes.                                                                                $          0.00
      17. Involuntary deductions: The total monthly payroll deductions that your job requires, such as retirement
          contributions, union dues, and uniform costs.
          Do not include amounts that are not required by your job, such as voluntary 401(k) contributions or payroll savings.            $          0.00
      18. Life Insurance: The total monthly premiums that you pay for your own term life insurance. If two married people are
          filing together, include payments that you make for your spouse's term life insurance.
          Do not include premiums for life insurance on your dependents, for a non-filing spouse's life insurance, or for any form
          of life insurance other than term.                                                                                              $          0.00
      19. Court-ordered payments: The total monthly amount that you pay as required by the order of a court or
          administrative agency, such as spousal or child support payments.
          Do not include payments on past due obligations for spousal or child support. You will list these obligations in line 35.       $          0.00
      20. Education: The total monthly amount that you pay for education that is either required:
                 as a condition for your job, or
                 for your physically or mentally challenged dependent child if no public education is available for similar services.     $          0.00
      21. Childcare: The total monthly amount that you pay for childcare, such as babysitting, daycare, nursery, and preschool.
          Do not include payments for any elementary or secondary school education.                                                       $          0.00
      22. Additional health care expenses, excluding insurance costs: The monthly amount that you pay for health care
          that is required for the health and welfare of you or your dependents and that is not reimbursed by insurance or paid
          by a health savings account. Include only the amount that is more than the total entered in line 7.
          Payments for health insurance or health savings accounts should be listed only in line 25.                                      $          0.00
      23. Optional telephone and telephone services: The total monthly amount that you pay for telecommunication services
          for you and your dependents, such as pagers, call waiting, caller identification, special long distance, or business cell
          phone service, to the extent necessary for your health and welfare or that of your dependents or for the production of
          income, if it is not reimbursed by your employer.
          Do not include payments for basic home telephone, internet and cell phone service. Do not include self-employment
          expenses, such as those reported on line 5 of Official Form 122C-1, or any amount you previously deducted.                     +$          0.00

      24. Add all of the expenses allowed under the IRS expense allowances.                                                              $    3,034.00
          Add lines 6 through 23.
      Additional Expense Deductions                These are additional deductions allowed by the Means Test.
                                                   Note: Do not include any expense allowances listed in lines 6-24.

      25. Health insurance, disability insurance, and health savings account expenses. The monthly expenses for health
          insurance, disability insurance, and health savings accounts that are reasonably necessary for yourself, your spouse, or
          your dependents.
              Health insurance                                            $            0.00
              Disability insurance                                        $            0.00
              Health savings account                                    +$             0.00

              Total                                                           $         0.00       Copy total here=>                     $           0.00


              Do you actually spend this total amount?
                     No. How much do you actually spend?
                      Yes                                                     $

      26. Continuing contributions to the care of household or family members. The actual monthly expenses that you will
          continue to pay for the reasonable and necessary care and support of an elderly, chronically ill, or disabled member of
          your household or member of your immediate family who is unable to pay for such expenses. These expenses may
          include contributions to an account of a qualified ABLE program. 26 U.S.C. § 529A(b)                                            $          0.00
      27. Protection against family violence. The reasonably necessary monthly expenses that you incur to maintain the
          safety of you and your family under the Family Violence Prevention and Services Act or other federal laws that apply.
              By law, the court must keep the nature of these expenses confidential.                                                      $          0.00



  Official Form 122C-2                                    Chapter 13 Calculation of Your Disposable Income                                        page 4




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   Debtor 1     Delra Lee Harris                                                                      Case number (if known)

      28. Additional home energy costs. Your home energy costs are included in your insurance and operating expenses on
          line 8.
              If you believe that you have home energy costs that are more than the home energy costs included in expenses on line
              8, then fill in the excess amount of home energy costs
              You must give your case trustee documentation of your actual expenses, and you must show that the additional
              amount claimed is reasonable and necessary.                                                                                      $              0.00
      29. Education expenses for dependent children who are younger than 18. The monthly expenses (not more than
          $189.58* per child) that you pay for your dependent children who are younger than 18 years old to attend a private or
          public elementary or secondary school.
              You must give your case trustee documentation of your actual expenses, and you must explain why the amount
              claimed is reasonable and necessary and not already accounted for in lines 6-23.
              * Subject to adjustment on 4/01/25, and every 3 years after that for cases begun on or after the date of adjustment.             $              0.00
      30. Additional food and clothing expense. The monthly amount by which your actual food and clothing expenses are
          higher than the combined food and clothing allowances in the IRS National Standards. That amount cannot be more
          than 5% of the food and clothing allowances in the IRS National Standards.
              To find a chart showing the maximum additional allowance, go online using the link specified in the separate
              instructions for this form. This chart may also be available at the bankruptcy clerk's office.
              You must show that the additional amount claimed is reasonable and necessary.                                                    $              0.00
      31. Continuing charitable contributions. The amount that you will continue to contribute in the form of cash or financial
          instruments to a religious or charitable organization. 11 U.S.C. § 548(d)(3) and (4).
              Do not include any amount more than 15% of your gross monthly income.                                                            $              0.00

      32. Add all of the additional expense deductions.                                                                                        $            0.00
          Add lines 25 through 31.

      Deductions for Debt Payment

      33. For debts that are secured by an interest in property that you own, including home mortgages, vehicle
          loans, and other secured debt, fill in lines 33a through 33e.
            To calculate the total average monthly payment, add all amounts that are contractually due to each secured
            creditor in the 60 months after you file for bankruptcy. Then divide by 60.
                Mortgages on your home                                                                                                     Average monthly
                                                                                                                                           payment
      33a.      Copy line 9b here                                                                                                    =>    $           6,600.00
                Loans on your first two vehicles
      33b.      Copy line 13b here                                                                                                   =>    $            166.00
      33c.      Copy line 13e here                                                                                                   =>    $            110.00
      33d.      List other secured debts:
      Name of each creditor for other secured debt          Identify property that secures the debt                     Does payment
                                                                                                                        include taxes
                                                                                                                        or insurance?
                                                                                                                               No
               Internal Revenue Service                     All debtors real and personal property                             Yes         $            470.00

                                                                                                                               No
                                                                                                                               Yes         $

                                                                                                                               No
                                                                                                                               Yes        +$


                                                                                                                                     Copy
                                                                                                                                     total
      33e      Total average monthly payment. Add lines 33a through 33d                                   $           7,346.00       here=>        $    7,346.00




  Official Form 122C-2                                 Chapter 13 Calculation of Your Disposable Income                                                     page 5




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      34. Are any debts that you listed in line 33 secured by your primary residence, a vehicle,
          or other property necessary for your support or the support of your dependents?
                 No.      Go to line 35.
                 Yes. State any amount that you must pay to a creditor, in addition to the payments
                      listed in line 33, to keep possession of your property (called the cure amount).
                      Next, divide by 60 and fill in the information below.
       Name of the creditor                                         Identify property that secures the debt                    Total cure amount                  Monthly cure
                                                                                                                                                                  amount
                                                                    3657 Peachtree Rd. Ne #6B Atlanta,
                                                                    GA 30319 DeKalb County
       Spring Valley Lots, LLC                                      Cost of Sale: $82,500                                  $             130,000.00 ÷ 60 = $                      2,166.67
                                                                                                                           $                              ÷ 60 = $
                                                                                                                           $                              ÷ 60 = +$
                                                                                                                                                             Copy
                                                                                                                                                             total
                                                                                                                    Total $                  2,166.67        here=>           $      2,166.67

      35. Do you owe any priority claims - such as a priority tax, child support, or alimony - that
          are past due as of the filing date of your bankruptcy case? 11 U.S.C. § 507.

                 No. Go to line 36.
                 Yes. Fill in the total amount of all of these priority claims. Do not include current or
                      ongoing priority claims, such as those you listed in line 19.
                            Total amount of all past-due priority claims                                                       $                   0.00       ÷ 60        $              0.00
      36. Projected monthly Chapter 13 plan payment                                                                            $
          Current multiplier for your district as stated on the list issued by the Administrative
          Office of the United States Courts (for districts in Alabama and North Carolina) or by
          the Executive Office for United States Trustees (for all other districts).                                           X
          To find a list of district multipliers that includes your district, go online using the link specified in the
          separate instructions for this form. This list may also be available at the bankruptcy clerk's office.
                                                                                                                                                           Copy total
          Average monthly administrative expense                                                                                   $                       here=> $



      37. Add all of the deductions for debt payment. Add lines 33e through 36.                                                                                           $        9,512.67


      Total Deductions from Income

      38. Add all of the allowed deductions.
              Copy line 24, All of the expenses allowed under IRS
              expense allowances                                                                      $        3,034.00
              Copy line 32, All of the additional expense deductions                                  $              0.00
              Copy line 37, All of the deductions for debt payment                                   +$        9,512.67


              Total deductions....................................................................    $       12,546.67                Copy total here=>              $            12,546.67




  Official Form 122C-2                                                  Chapter 13 Calculation of Your Disposable Income                                                               page 6




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   Part 2:     Determine Your Disposable Income Under 11 U.S.C. § 1325(b)(2)

      39. Copy your total current monthly income from line 14 of Form 122C-1, Chapter 13
          Statement of Your Current Monthly Income and Calculation of Commitment Period.                                        $                   8,100.00
      40. Fill in any reasonably necessary income you receive for support for dependent
          children. The monthly average of any child support payments, foster care payments, or
          disability payments for a dependent child, reported in Part I of Form 122C-1, that you
          received in accordance with applicable nonbankruptcy law to the extent reasonably
          necessary to be expended for such child.                                                         $                 0.00
      41. Fill in all qualified retirement deductions. The monthly total of all amounts that your
          employer withheld from wages as contributions for qualified retirement plans, as specified
          in 11 U.S.C. § 541(b)(7) plus all required repayments of loans from retirement plans, as
          specified in 11 U.S.C. § 362(b)(19).                                                             $                 0.00
      42. Total of all deductions allowed under 11 U.S.C. § 707(b)(2)(A). Copy line 38 here          =>    $          12,546.67
      43. Deduction for special circumstances. If special circumstances justify additional
          expenses and you have no reasonable alternative, describe the special circumstances and
          their expenses. You must give your case trustee a detailed explanation of the special
          circumstances and documentation for the expenses.

      Describe the special circumstances                                              Amount of expense

                                                                                  $

                                                                                  $

                                                                                  $

                                                                                                          Copy
                                                                       Total $                0.00        here=> $                  0.00


                                                                                                                               Copy
      44. Total adjustments. Add lines 40 through 43.                                         =>      $         12,546.67      here=> -$           12,546.67


      45. Calculate your monthly disposable income under § 1325(b)(2). Subtract line 44 from line 39.                               $         -4,446.67


   Part 3:     Change in Income or Expenses

      46. Change in income or expenses. If the income in Form 122C-1 or the expenses you reported in this form
          have changed or are virtually certain to change after the date you filed your bankruptcy petition and during the
          time your case will be open, fill in the information below. For example, if the wages reported increased after
          you filed your petition, check 122C-1 in the first column, enter line 2 in the second column, explain why the
          wages increased, fill in when the increase occurred, and fill in the amount of the increase.

      Form          Line         Reason for change                                     Date of change          Increase or      Amount of change
                                                                                                               decrease?
         122C-1                                                                                                   Increase
         122C-2                                                                                                   Decrease      $
         122C-1                                                                                                   Increase
         122C-2                                                                                                   Decrease      $
         122C-1                                                                                                   Increase
         122C-2                                                                                                   Decrease      $
         122C-1                                                                                                   Increase
         122C-2                                                                                                   Decrease      $




  Official Form 122C-2                               Chapter 13 Calculation of Your Disposable Income                                                 page 7




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   Part 4:        Sign Below



              By signing here, under penalty of perjury you declare that the information on this statement and in any attachments is true and correct.


         X /s/ Delra Lee Harris
               Delra Lee Harris
               Signature of Debtor 1
      Date September 30, 2022
           MM / DD / YYYY




  Official Form 122C-2                                 Chapter 13 Calculation of Your Disposable Income                                              page 8




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                                        Current Monthly Income Details for the Debtor

  Debtor Income Details:
  Income for the Period 03/01/2022 to 08/31/2022.

  Line 4 - Contributions to household expenses of the debtor or dependents
  Source of Income: Family Contribution
  Income by Month:
   6 Months Ago:                        03/2022              $4,500.00
   5 Months Ago:                        04/2022              $4,500.00
   4 Months Ago:                        05/2022              $4,500.00
   3 Months Ago:                        06/2022              $4,500.00
   2 Months Ago:                        07/2022              $4,500.00
   Last Month:                          08/2022              $4,500.00
                           Average per month:                $4,500.00




  Line 5 - Income from operation of a business, profession, or farm
  Source of Income: Self Employment
  Income/Expense/Net by Month:
                           Date                            Income                          Expense                   Net
   6 Months Ago:                  03/2022                        $4,100.00                            $500.00              $3,600.00
   5 Months Ago:                  04/2022                        $4,100.00                            $500.00              $3,600.00
   4 Months Ago:                  05/2022                        $4,100.00                            $500.00              $3,600.00
   3 Months Ago:                  06/2022                        $4,100.00                            $500.00              $3,600.00
   2 Months Ago:                  07/2022                        $4,100.00                            $500.00              $3,600.00
   Last Month:                    08/2022                        $4,100.00                            $500.00              $3,600.00
                       Average per month:                        $4,100.00                            $500.00
                                                                              Average Monthly NET Income:                  $3,600.00




  Official Form 122C-2                        Chapter 13 Calculation of Your Disposable Income                              page 9




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                                        American Express National Bank
                                        PO Box 3001
                                        Malvern, PA 19355-0701



                                        American Express National Bank
                                        PO Box 3001
                                        Malvern, PA 19355-0701



                                        American Express National Bank
                                        PO Box 3001
                                        Malvern, PA 19355-0701



                                        Bank of America
                                        P.O. Box 982238
                                        El Paso, TX 79998



                                        Calvary SPV I, LLC
                                        500 Summit Lake Dr.
                                        Ste. 400
                                        Valhalla, NY 10595



                                        Connie Tamplin
                                        Ellenwood, GA 30294




                                        Georgia Department of Revenue
                                        Attn: Bankruptcy Department
                                        1800 Century Boulevard, NE
                                        Suite 9100
                                        Atlanta, GA 30345



                                        Internal Revenue Service
                                        401 W. Peachtree Street, NW
                                        Stop #334-D Room 400
                                        Atlanta, GA 30308




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                                        Internal Revenue Service
                                        401 W. Peachtree Street, NW
                                        Stop #334-D Room 400
                                        Atlanta, GA 30308



                                        JP Morgan Chase Bank
                                        c/o Robertson, Anschutz, & Schneid, P.L.
                                        6409 Congress Avenue
                                        Suite 100
                                        Boca Raton, FL 33487



                                        LVNV Funding, LLC
                                        Resurgent Capital Services
                                        P.O. Box 10587
                                        Greenville, SC 29603-0587



                                        MIdland Credit Management
                                        PO Box 2037
                                        Warren, MI 48090



                                        Quantum 3 Group as agent forCredit Corp
                                        PO Box 788
                                        Kirkland, WA 98083



                                        Spring Valley Lots, LLC
                                        Bankruptcy Dept.
                                        1 Corporate Drive
                                        Suite 360
                                        Lake Zurich, IL 60047



                                        The Winston Condominium Assoc.
                                        c/o Lazega & Johanson
                                        PO Box 250800
                                        Atlanta, GA 30325



                                        The Winston Condominium Assoc.
                                        c/o Lazega & Johanson
                                        PO Box 250800
                                        Atlanta, GA 30325




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                                        USAA Federal Savings Bank
                                        Weinstein & Riley, PS
                                        c/o Jordy Robertson
                                        2001 Western Avenue Ste 400
                                        Seattle, WA 98121



                                        USAA Federal Savings Bank
                                        Weinstein & Riley, PS
                                        c/o Jordy Robertson
                                        2001 Western Avenue Ste 400
                                        Seattle, WA 98121




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   Fill in this information to identify your case:
   United States Bankruptcy Court for the:
   NORTHERN DISTRICT OF GEORGIA

   Case number (if known):




  Official Form 121
  Statement About Your Social Security Numbers                                                                                                         12/15

  Use this form to tell the court about any Social Security or federal Individual Taxpayer Identification numbers you have used. Do not file this
  form as part of the public case file. This form must be submitted separately and must not be included in the court’s public electronic records.
  Please consult local court procedures for submission requirements.

  To protect your privacy, the court will not make this form available to the public. You should not include a full Social Security Number or
  Individual Taxpayer Number on any other document filed with the court. The court will make only the last four digits of your numbers known
  to the public. However, the full numbers will be available to your creditors, the U.S. Trustee or bankruptcy administrator, and the trustee
  assigned to your case.

  Making a false statement, concealing property, or obtaining money or property by fraud in connection with a bankruptcy case can result in
  fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

   Part 1: Tell the Court About Yourself and Your spouse if Your Spouse is Filing With You
                              For Debtor 1:                                        For Debtor 2 (Only if Spouse is Filing:)

   1.   Your name                  Delra
                                   First name                                                   First name
                                   Lee
                                   Middle name                                                  Middle name
                                   Harris
                                   Last name                                                    Last name

   Part 2: Tell the Court About all of Your Social Security or Federal Individual Taxpayer Identification Numbers


   2.   All Social Security
        Numbers you have
        used                                  9941

                                       You do not have a Social Security Number                   You do not have a Social Security Number

   3.   All federal Individual
        Taxpayer
        Identification
        Numbers (ITIN) you
        have used                                                                                 You do not have an ITIN.
                                       You do not have an ITIN.

   Part 3: Sign Below

                                   Under penalty of perjury, I declare that the information I     Under penalty of perjury, I declare that the information I
                                   have provided in this form is true and correct.                have provided in this form is true and correct.

                                   X   /s/ Delra Lee Harris                                       X
                                       Delra Lee Harris                                               Signature of Debtor 2
                                       Signature of Debtor 1

                                       Date     September 30, 2022                                    Date




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 Signature Certificate
 Reference number: BRQJS-BGYWF-UUZFA-PDSBT




  Signer                                 Timestamp                             Signature

  Delra Harris
  Email:

  Sent:                                  30 Sep 2022 20:15:43 UTC
  Viewed:                                30 Sep 2022 20:16:37 UTC
  Signed:                                30 Sep 2022 20:17:38 UTC

  Recipient Verification:                                                      IP address: 50.243.207.100
  ✔Email verified                        30 Sep 2022 20:16:37 UTC              Location: Fayetteville, United States




 Document completed by all parties on:
 30 Sep 2022 20:17:38 UTC


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